Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 1 of 42 PagelD #:802

IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

Case No. 07 C 250
ANDRE ADIPUTRA, et al.,
(and consolidated and related civil cases
Plaintiffs, No. 07 CV 1387; No. 07 CV 4845;

No. 07 CV 4954; No. 08 CV 2358;

v. No. 08 CV 2359; No. 08 CV 3324;

No. 08 CV 3325)

THE BOEING COMPANY, et al.,
MDL 1925
Defendants. (Case No. 08 CV 2357

 

Honorable John F. Grady

 

DEFENDANTS' JOINT MEMORANDUM OF LAW
IN SUPPORT OF THEIR AMENDED MOTION TO DISMISS ON THE GROUNDS OF
FORUM NON CONVENIENS

01038-493 1/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 2 of 42 PagelD #:803

TABLE OF CONTENTS
Page
I, INTRODUCTION AND SUMMARY OF THE ARGUMENT .........ccccccerestesereeseenerses 1
Il. BACKGROUND 10... ..cccccessssseteesteseceneeeesnecnsesecaeesserecsaeeseeseensecseeneeseesesaeceesesseeasseesesneeseeness 5
A. The Accident and Resulting Investigation... cee ceeeeseseseeeeeeceeeeseeeereneeeresennes 5
B. Indonesian Civil Aviation .........cccccssessesecsscctecsseneceaceneseeesersessecsesaeeaesaesaessseserateas 6
C. The Flight 91 Claims History and Litigation... esses seceteeteceeetseeeeeeeeeenees 7
TH. «=§ ARGUMENT .......cccccscsccsccseesesseeacenetsneneeecenesatsnessrcneeaeeatsnesnssasenesaeesesatenessesansneieeaesnsenees 10
A. Indonesia Is an Available and Adequate Alternative Forum... eeeeeeseeeneees 11
1. Indonesia is an available fOrUmM ..0...... eee eeeeseeseceseeneeceneeaeceeesnesaeeneeens 12
2. Indonesia is an adequate fOr... ee eeceesenseeteceeeereeeestseeeseeaeeneeeseeees 12
B. The Private Interest Factors Strongly Favor Dismissal .......0..0.. ci eeeeeseeeeereereeee 14
1. The ease of access to sources of proof factor favors Indonesia............... 14
a. Evidence regarding the Releases is in Indonesia ...............cccceee 15
b. Critical liability evidence is in Indonesia............:.scseseeeseeseeenees 15
C. Damages evidence is in Indonesia .............ccscseesesseetsessesneeseesaees 17
2. Many critical witnesses are beyond the reach of compulsory
PTOCESS.....ecceccecssseeeecessscnesesssseeseeseseeeeeeeseeeeeeeeeeaeteseeseeneseeseaseeeessaeeesenenenags 19
3. In contrast, all relevant evidence in Defendants’ control will be
available in Indonesia ......... ee esescseseeteesereesecneeeesenseeecseeseeaessessenasenetaes 21
4. It is likely not possible to join Mandala and is impossible to join
Angkasa Pura II in this Case.........cccecsssssesesseceserseccrectsseseesaseenessesserenesenses 22
5. An Indonesian fact-finder can view the accident Site... ce eeeeeeeeeeee 23
C. The Public Interest Factors Also Strongly Favor Dismissal .............cc:cesscsseeeees 23
1. Indonesia has an overwhelming interest in deciding this dispute,
far outweighing the interest of any possible U.S. forum ........ eee 23
2. There is no reason to burden any U.S. court or jury with resolving
litigation in which Indonesia has such a significant and
Overwhelming interest..........cccessesseeecsessnecsesecsncecssscsneseesessaeestseseneseaeeens 28
3. Dismissal would avoid unnecessary conflict of laws problems and
the necessity of applying Indonesian law .0........ ee eceecceesceseeeteeneteneeeneeaes 29
TV. CONCLUSION Qu... ce ccccccscssesessecseceteecsneceesseeneesaesnecsesscessesasesesassaeseaeseeenecsesteceesessecaesaeenes 31

01038-493 1/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 3 of 42 PagelD #:804

TABLE OF AUTHORITIES
Page

Cases
Alexander Proudfoot, Pie v. Fed. Ins. Co.,

860 F. Supp. 541 (N.D. Tl. 1994) oe cecesssenseeseeessssrenersesesssseesessssssessssesseseneenessenes 21, 31
Baumgart v. Fairchild Aircraft Corp.,

O81 F.2d 824 (5 Cir, 1993) vccccccccscsesssssesssessesssssesssssssssesssessesseeseesecsesseaneenessseneeness 14, 21, 27, 28
Baumgart v. Fairchild Aircraft Corp.,

Civ. A. No. SA-90-CA-818, 1991 WL 487242 (W.D. Tex. Sept. 30, 1991) oo eeereee 28
Boskoff v. Boeing Co.,

17 Avi. 18 (N.D. TIL. Jurne 1, 1983) oo. eeesceceeeenecseresscsseessesseseesscssseeseesesescsesesesssesscsesessees 27
Carney v. Singapore Airlines,

940 F. Supp. 1496 (D. Ariz. 1996) oo. eee escsssesseesessessesesecnensccsensssseessesessssesesessaseensensiess 11,19
Cheng v. Boeing Co.,

708 F.2d 1406 (9th Cir. 1983) cee eeeseesecseeecesceseesessecseessesseessessseessssssassessessessessssseusesenens 2,10
Chhawchharia v. Boeing Co.,

657 F. Supp. 1157 (S.D.N.Y. 1987) ooo eeeesssensessesesetsessssesesessesessssessessenscnersusneresesensnees 18, 23
Clerides v. Boeing Co.,

534 F.3d 623 (7 Cir. 2008) .occccscssssssesseesseesecseesseesseesesssesseeseesses 2, 4, 10, 14, 19, 20, 21, 24, 25
Compania Mexicana de Aviacion, S.A. v. U.S. Dist. Court,

859 F.2d 1354 (9™ Cir. 1988) oi eccecccscsssessssssessesssesssesesscssssssessssssesecsessscsesssecssaseareeseesecesesseseseesses 22
Da Rocha y. Bell Helicopter Textron, Inc.,

451 F. Supp. 2d 1318 (S.D. Fla. 2006) oes eeeeeeesersesseseseeeneesessseseseenes 2, 15, 16, 19, 21, 27
Dahl y. United Techs. Corp.,

632 F.2d 1027 (3d Cir. 1980) occ ecesseccerecscesecsscersessnevecesecsessceesseaessecaceneessersesseenevssensseesasaes 19
Damigos v. Flanders Compania Naviera, S.A.-Panama,

716 F. Supp. 104 (S.D.N.-Y. 1989) ooo. eeeesseseseeseeserserersecsesseseescessessesesseseees 12, 15, 20, 23, 29
De Aguilar v. Boeing Co.,

11 F.3d 55 (Sth Cir, 1993) oe ecsccssssseececsseseesecsecsesssesscsseesecseseaeesecseesesaesaesaseaesasenssaseeenarseens 2
Dugan v. Mobile Med. Testing Servs., Inc.,

830 A.2d 752 (Conn. 2003) .....cecsccccssssssscsecseseenecscesceeceeeseeeceessevseessessnesstessesssaseessesseeeasaseneesesney 30
Ellis v. Barto,

918 P.2d 540 (Wash. Ct. App. 1996)... eecececeressesseesersessssesecsscssesssscsscesensesssesersnessasseseseestees 30
Esheva y. Siberia Airlines,

499 F. Supp. 2d 493 (S.D.N-Y. 2007) oo. ceesceessseseesssscssesesseceseeserenscrssnessesesersessens 2, 24, 25, 29
Esser v. McIntyre,

169 TI]. 2d 292 (1996) uu... seeecsccscessencesenssesscessecescensceesssenenesasesesecssesesscsceuseasensascesessasecsureensnees 30

-ii-
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 4 of 42 PagelD #:805

TABLE OF AUTHORITIES
(continued)
Page

Gambra v. Int'l Lease Fin. Corp.,

377 F. Supp. 2d 810 (C.D. Cal. 2005) oo. cecscscesessessesssesesesseesecreenssessesssseesesecseens 2, 21, 24, 27
Gonzales v. P.T. Pelangi Niagra Mitra Int'l,

196 F. Supp. 2d 482 (S.D. Tex. 2002) occ csecsesssserssssssessessscsenessnsesecsesessesesecseesseeesessenesees 11
Gulf Oil Corp. v. Gilbert,

330 U.S. 501 (1947)... ceceesctessseeeeseeserserseeneessesesesesssssessessesnesesesseeseesaees 14, 19, 20, 23, 25, 29
Helog AG v. Kaman Aerospace Corp.,

228 F. Supp. 2d 91 (D. Conn. 2002)... ee ceessessesseeesessesesssssssessessssssecseesecssesssesseenesneseensss 27, 29
Holmgren v. Nat’l Big-4 Asbestos Removal Specialty, Inc.,

228 Tl App. 3d 433 (1992) oo. ccssessssenensrsceersesssscsenevsesssssssssssssessssesecsusesssecsessssssesesiseeeseesenes 30
Hull 753 Corp. v. Elbe Flugzeugwerke GmbH,

58 F. Supp. 2d 925 (N.D. Tl. 1999) ooo eeeeseeeenecneneerseensesesnseesseseenseseessesecssessessesesessesees 13
In re Air Crash at Belle Harbor, N.Y. on Nov. 12, 2001,

No. MDL 1448, 2006 WL 1288298 (S.D.N.Y. May 9, 2006)... ce secssssessecsessseesecnnsnsessonsens 29
In re Air Crash Disaster Near Chi., Ill., on May 25, 1979,

644 F.2d 594 (7 Cir, 1981) vescsssessessecsessessecsessecsnscsessessscesecsecsucsussucsueesesseesesaveaneanecseeneeenesseesees 30
In re Air Crash Near Athens, Greece on Aug. 14, 2005,

479 F. Supp. 2d 792 (N.D. Ill. 2007), aff'd sub nom.

Clerides v. Boeing Co., 534 F.3d 623 (7 Cir. 2008) .eccseecssessseessecseecees 2, 10, 13, 17, 27, 28, 29
In re Air Crash Near Peixoto De Azeveda, Brazil, on Sept.29, 2006,

No. 07 MD 1884 (E.D.N.Y. July 2, 2008)... ee eeesseteceeersneesseessseeseeeseeneesens 2, 24, 26, 28, 31
In re Air Crash Over Taiwan Straits on May 25, 2002,

331 F. Supp. 2d 1176 (C.D. Cal. 2004) occ ceceessseessensereneeneeees 2, 10, 16, 18, 21, 24, 25, 27
In re Bridgestone/Firestone, Inc.,

305 F. Supp. 2d 927 (S.D. Ind. 2004) oo eeeseseeteeseteseessseessecsesssseseasesssesresessnseesees 19, 23, 25
In re Bridgestone/Firestone, Inc.,

420 F.3d 702 (7 Cir, 2005) vcecccsssessessssssesssecssesscesessucssscssecssecsuecsssssecssceneessceseenveess 10, 18, 24, 29
In re Bridgestone/Firestone, Inc., Tires Prods. Liab. Litig.,

190 F. Supp. 2d 1125 (S.D. Ind. 2002) 0... eeesseessessesssssescssenssecsesscseeeesessesenesseeseeesesseesseees 10
In re Disaster at Riyadh Airport, Saudi Arabia, on Aug. 19, 1980,

540 F. Supp 1141 (D.D.C. 1982) ne esccsesscssessssesesessssesessereesscsssesecsesesesseseseseessassenanenssenss 18
In re Factor VIII or IX Concentrate Blood Prods. Liab. Litig.,

408 F. Supp. 2d 569 (N.D. Tl. 2006) 00... eects sssessssssscecsscsecsesserseseesseresseneesessesssereneeees 24, 28
In re Factor VIII or IX Concentrate Blood Prods. Litig.,

A84 F.3d 951 (7 Cir, 2007) ccscssssssssesssesseecsecssecssecsecssecsusesesssecssesncsaneceneeneeseeess 10, 12, 22, 24, 29
In re Factor VIII or IX Concentrate Blood Prods. Litig.,

531 F. Supp. 2d 957 (N.D. Il]. 2008) oo... eeecsereesscessesesenessseereesresesseneeees 15, 19, 23, 25, 27, 28

-iii-
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 5 of 42 PagelD #:806

TABLE OF AUTHORITIES
(continued)
Page

Jennings v. Boeing Co.,

660 F. Supp. 796 (E.D. Pa. 1987)... esesscsesseesecssenersnessevscseceaseasseeseseaessesseseessesseesaseaseessneress 27
Johnson v. Spider Staging Corp.,

555 P.2d 997 (Wash. 1976) .....ccsceccssssssereeseeseesnsesscsesecsesesensceaesssenseceesenaeenersesaecerseeeeaseseensenseees 30
Kamel v. Hill-Rom Co.,

108 F.3d 799 (7 Cir. 1997) voecceecsesssesssesssescsessssseessresssessesseeessen 10, 11, 12, 13, 19, 23, 25, 31
Kryvicky v. Scandinavian Airlines Sys.,

807 F.2d 514 (6th Cir, 1986) oe esesecsseeecesesseeseesscseesesssessenseesessereeeneeseesessessecssesesenssseeseesenss 2
Lueck v. Sundstrand Corp.,

236 F.3d 1137 (Oth Cir, 2001) oe eeeseeeeseeeereseeeeetecsnecsesseseeseseesseeaesaesers 2, 16, 21, 25, 26, 28
Macedo vy, Boeing Co.,

693 F.2d 683 (7 Cir, 1982) vecccscccsessssssecsseessssssvessesssscsssessescssecssvessuscssecssecssuvesaesneesseceavesses 27, 31
McDonald's Corp. v. Bukele,

960 F. Supp. 1311 (N.D. TEL. 1997) oe csecneeeseneeesecsetsessectecsecsessesseseessessnsssesstseseensets 21,25
Mercier v. Sheraton Int'l, Inc.,

981 F.2d 1345 (1™ Cir, 1992) ...cccccccccssssssesssssssssscsssssvevsrsecscsesvssesscsrsesscasssavsesesavacasavsvsveeeavereveees 13
Nai-Chao v. Boeing Co.,

555 F. Supp. 9 (N.D. Cal. 1982) oo ececeesescccssesssscesseecsseesnecsecssecssesseseesensesecseecateeneseeeerensecness 20
Nolan v. Boeing Co.,

762 F. Supp. 680 (E.D. La. 1989),

aff'd, 919 F.2d 1058 (5™ Cir, 1990) .ccscccesssesssessesssessssssssessvessuecsstecsecsssvesssessvessussseesaneeseesseresneeen 28
Pain v. United Techs. Corp.,

637 F.2d 775 (D.C. Cir. 1980)... ceeecscesssesesscessecsecesssecsecsssesessessessessesssusesessesseesesecesasenseasens 2, 19
Paolicelli v. Ford Motor Co.,

No. 06-13688, 2008 WL 3855042 (11 Cir. Aug. 20, 2008) ...cccccssssessecssessssssessssesseessees 14, 21
Philippides v. Bernard,

88 P.3d 939 (Wash. 2004) 0... eecscsesecesesssstecsecsstsscssessecascessesseaeeaessseaeeessssesesseseesensecessesatensenees 30
Piper Aircraft Co. v. Reyno,

454 US. 235 (1981)... ceeeeeetscneeerceeeeneens 2, 3, 4, 10, 11, 13, 14, 15, 22, 23, 24, 26, 27, 29, 30
PT Indopac Perdana Fin. v. Masagung,

Nos. 00-17345, 01-15622, 2002 WL 505915 (9th Cir. Apr. 1, 2002) .......cccecsesecsecsseeeeseeseens 11
PT United Can Co. v. Crown Cork & Seal Co.,

138 F.3d 65 (2d Cir. 1998) ooo. eesescsseeseesecssececessessecescsseseesaeseeeseeeseessessesseseassaseseesseas 11, 13
Pyrenee, Ltd. vy. Wocom Commodities Ltd.,

984 F. Supp. 1148 (ND. IL. 1997) oe ccseeseceeseseeseesesecsessessevsessessessessaseesseessecssessesassaenaenes 21
Quaak v. Klynveld Peat Marwick Goerdeler Bedrijfsrevisoren,

361 F.3d 11 (1% Cir, 2004)....ccccccesscsessesccsessescssesssecsesscsesscssssccsssucsessssessucsnsessnssssssscasassessesavassans 20

-iv-
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 6 of 42 PagelD #:807

TABLE OF AUTHORITIES
(continued)
Page

Reers v. Deutsche Bahn AG,

320 F. Supp. 2d 140 (S.D.N.Y. 2004) oe eccescesesssesesteceeesseeseeateaeescseeseseaseaesesseeseenersessnsseenees 23
Satz v. McDonnell Douglas Corp.,

244 F.3d 1279 (11th Cir. 2001) oo. cescesscsseesectsetsessesesseceecsncnesseessessesaseaeesesasensens 2, 19, 22, 31
Sinochem Int’! Co. v. Malaysia Int’l Shipping Corp.,

127 S. Ct. 1184 (2007)... eececcsssesssctscneesesseesessssenseacoseeseseessesstesessecseesessesencsesareseessessensseeseasets 10
Spinozzi v. ITT Sheraton Corp.,

174 F.3d 842 (7 Cir, 1999) vooccccccsssssssssssssssssssessssesssessssseesecsecsuesserseesessseesssseesseesecsseesesseesseesenss 31
Tjontveit v. Den Norske Bank ASA,

997 F. Supp. 799 (S.D. Tex. 1998) oe eeessecsceeeneeeeeeeeesseesersenessesecsesesssesesesessessseesseseaeesensess 12
Tucci v. Club Mediterranee, S.A.,

107 Cal. Rptr. 2d 401 (Cal. Ct. App. 2001)... eee eeeenecsesreessersesessessessssecseeeesessesevsessessennees 30
U.S.O. Corp. v. Mizuho Holding Co.,

No. 06 C 0459, 2007 WL 2893628 (N.D. Ill. Sept. 27, 2007)... es eeeseseeessetereneeseeeeeeraeseeens 20
Van Schijndel v. Boeing Co.,

434 F. Supp. 2d 766 (C.D. Cal. 2006) oe eeeeseeeeeeereeerereeesereentenente 2, 16, 19, 20, 22, 25, 29
Vasquez v. Bridgestone/Firestone, Inc.,

325 F.3d 665 (Sth Cir. 2003) oo... cccsccsccscsssesecesesssesceseessceeessecnessesecsacecsaeeaseessesseeneesevsaseessessees 19
Zermeno v. McDonnell Douglas Corp.,

246 F. Supp. 2d 646 (S.D. Tex. 2003)... eeeesssseeeseeseeserseeneeecaeseesseresseesseevserecssensssenevases 17, 21
Zipfel v. Halliburton Co.,

832 F.2d 1477 (9™ Cir. 1987),

amended on other grounds, 861 F.2d 565 (9" Cir. 1988) v.scecccscsesssessesssssseesssesseesseesseeseesseessees 11
Statutes
28 U.S.C. § 1603(D)(2) ...ceeeceecssessesseeceeeesececesessecsnseeceesaessecseesacesensseaecareaserssaceaesasesesseeaeseeensesseats 22
28 U.S.C. § 1604... cccccesessecsscscesecssssessenscesesscssecaseesecesseesesenecsecsscatcaecuesnecorsnassessrsnesaeeaeseeressasaes 22
28 U.S.C. § 1605 ..c.cccscccsccscsssssscsscsscsscsssesseessssessesessesseseeseesecenecsecserseennenecserseseaseessnsaenetaeeaenessaeeas 22
Cal. Civ. Pro. C. § 377.60 ..ccsccccsesscscessssceeceaceccesecseesscasesnesscsaecorsessesenessessesseeatsaseaessesaeeaesneeneeseeas® 26
Regulations and Rules
Fed. R. Civ. P. § 45(c)(3)(A) (ii) oo. ee ececeeeccesceseseesnetecseesacesesacenseesessecseceeeaeesessassceseeseessenseseenessnsaes 19
Fed. R. Civ. P. § 45(€) ...ccccccccsccssssssssesesssesceessesseseacseceaeesecsesscesaeesensesereesssesonenaseesenseasessesensesssasees 19
Treatises
Restatement (Second) of Conflict of Laws § 145(1) (1971)... eee escseecneesscenereneeeerenesseseaeenaees 30
Restatement (Second) of Conflict of Laws § 414 (1971) oe eeecsetseresseereeesesseesseserssneeeenes 30
(1)

(2)

(3)

(4)

(5)

(6)

Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 7 of 42 PagelD #:808

TABLE OF SUPPORTING DECLARATIONS

Amended Declaration of Allison Kendrick in Support of Defendants' Amended Joint
Motion to Dismiss on the Grounds of Forum Non Conveniens (“Kendrick”’)

Declaration of Richard Breuhaus in Support of the Motion to Dismiss on the Grounds of
Forum Non Conveniens (“Breuhaus”’)

Supplemental Declaration of M. Priyatna Abdurrasyid in Support of Defendants’
Amended Joint Motion to Dismiss on the Grounds of Forum Non Conveniens
(“Priyatna’’)

Harjanto Trijono’s Declaration in Support of Boeing Company’s Motion to Dismiss in
the District Court of Northern Illinois on the Grounds of Forum Non Conveniens
(“Haryanto”)

Declaration of Michael S. Bartron in Support of Defendants’ Joint Motion to Dismiss on
the Grounds of Forum Non Conveniens (“Bartron’’)

Declaration of William F. DeYoung in Support of Defendants’ Joint Motion to Dismiss
on the Grounds of Forum Non Conveniens (“DeYoung”)

-vi-

01038-493 1/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 8 of 42 PagelD #:809

I. INTRODUCTION AND SUMMARY OF THE ARGUMENT

Defendants The Boeing Company (“Boeing’’) and United Technologies Corporation
(“UTC”) (collectively, “Defendants”) move on the ground of forum non conveniens (“FNC”) to
dismiss the claims of 241 plaintiffs arising from the crash of a domestic Indonesian flight
operated by an Indonesian airline into a neighborhood adjacent to the Polonia Airport in Medan,
Indonesia on September 5, 2005 (the “Accident”).! Plaintiffs seek to recover for wrongful death
(197 plaintiffs), personal injury or loss of consortium (44 plaintiffs) and property damage (183
plaintiffs). The overwhelming majority of plaintiffs (235 of 241) are citizens and residents of
Indonesia. Likewise, the vast majority of the decedents were citizens and residents of Indonesia
(109 of 114). None of the passengers or ground victims was a U.S. citizen or resident and all of
the property allegedly damaged is or was in Indonesia. Indonesian authorities are responsible for
the Accident investigation. In short, plaintiffs’ claims are inextricably tied to Indonesia.
Indonesia provides an adequate alternative forum to resolve these claims and both the private and
public interest factors that the Court must consider in performing its FNC analysis
overwhelmingly indicate that Indonesia is the appropriate forum in which to litigate them.

Of the 241 plaintiffs, 192 previously accepted compensation and were named as
Releasors in written agreements which they signed in Indonesia settling their claims in full (the
“Releases”). The settling plaintiffs expressly released their claims not only against the
Indonesian air carrier, Mandala Airlines (“Mandala’’), but also against Boeing and UTC. To the
extent the settling plaintiffs contest the enforceability of the Indonesian Releases, as they must in
order for their claims to proceed, the FNC private and public interest factors weigh heavily in
favor of proceeding in Indonesia, where the Releases were negotiated and signed and the
compensation was paid. The Releases themselves provide that the settlements are governed by

Indonesian law and that all disputes regarding the settlements must be resolved by an Indonesian

 

! This FNC motion and supporting memorandum apply to six cases: Adiputra v. Boeing Co., 1:07-cv-
00250; Justyantoro v. Boeing Co., 1:07-cv-01387; Zu v. Boeing Co., 1:07-cv-04845; Adi v . Boeing Co.,
1:07-cv-04954; Kusumo v. Boeing Co., 1:08-cv-02358; and Laksono v. Boeing Co., 1:08-cv-02359.
Boeing understands that at least an additional 26 wrongful death claims and two personal injury claims
against Boeing and UTC arising out of the Accident will soon be filed in the United States District Court
for the District of Connecticut. Kendrick 4 14. Those claims should then be consolidated with this
litigation by the Judicial Panel on Multidistrict Litigation. Because all the plaintiffs and decedents
involved in those forthcoming claims are Indonesian citizens and residents, id., this motion will apply to
them as well.

01038-493 1/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 9 of 42 PagelD #:810

District Court. Furthermore, all of the witnesses and documents relating to the negotiation and
execution of the Releases and the payment and receipt of the consideration for the Releases are
located in Indonesia. Not only is it more convenient and less costly for this evidence to be
presented to an Indonesian court, but Boeing and UTC likely would be unable to compel the
production of such evidence in the United States. And only in Indonesia can all parties to the
Releases be joined in a single action that fully adjudicates the Releases’ validity. Under these
circumstances, an Indonesian forum is by far the most convenient forum in which to resolve the
issue of the Releases, which is potentially dispositive of the vast majority of these claims.

Aside from the Releases, this foreign aviation accident case fits squarely within the
Supreme Court’s controlling FNC decision of Piper Aircraft Co. v. Reyno, 454 U.S. 235 (1981),
in which the Court applied FNC to dismiss claims brought by foreign plaintiffs against U.S.
aircraft manufacturers arising from a foreign aviation accident. Since Piper Aircraft, federal
courts have repeatedly exercised their authority to dismiss claims against U.S. product
manufacturers arising from foreign aviation accidents. Most recently, the Seventh Circuit,
guided by Piper Aircraft and its progeny, affirmed the FNC dismissal of claims brought by
Cypriot plaintiffs against Boeing arising out of the crash of a Cypriot 737 in Greece. Clerides v.
Boeing Co., 534 F.3d 623 (7" Cir. 2008), aff’g In re Air Crash Near Athens, Greece on Aug. 14,
2005, 479 F. Supp. 2d 792 (N.D. Ill. 2007) (granting FNC dismissal of consolidated multidistrict
litigation brought by 90 Greek and/or Cypriot citizens, including two who resided in America).

Like those prior cases, these predominantly foreign plaintiffs bring wrongful death and
injury claims arising out of an accident involving an aircraft operated and maintained by a

foreign carrier on a foreign flight. With only one exception, none of the interested plaintiffs, or

 

2 See, e.g., Satz v. McDonnell Douglas Corp., 244 F.3d 1279 (11th Cir. 2001); Lueck v. Sundstrand Corp.,
236 F.3d 1137 (9th Cir. 2001); De Aguilar v. Boeing Co., 11 F.3d 55, 58-59 (Sth Cir. 1993); Kryvicky v.
Scandinavian Airlines Sys., 807 F.2d 514 (6th Cir. 1986); Cheng v. Boeing Co., 708 F.2d 1406 (9th Cir.
1983); Pain v. United Techs. Corp., 637 F.2d 775 (D.C. Cir. 1980); In re Air Crash Near Peixoto De
Azeveda, Brazil, on Sept.29, 2006, No. 07 MD 1884, at *1 (E.D.N.Y. July 2, 2008) (Kendrick Ex. K);
Esheva v. Siberia Airlines, 499 F. Supp. 2d 493 (S.D.N.Y. 2007); Da Rocha v, Bell Helicopter Textron,
Inc., 451 F. Supp. 2d 1318 (S.D. Fla. 2006); Van Schijndel v. Boeing Co., 434 F. Supp. 2d 766 (C.D. Cal.
2006); Gambra v. Int’l Lease Fin. Corp., 377 F. Supp. 2d 810, 827 (C.D. Cal. 2005); In re Air Crash
Over Taiwan Straits on May 25, 2002, 331 F. Supp. 2d 1176 (C.D. Cal. 2004).

01038-4931/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 10 of 42 PagelD #:811

the decedents for whom they bring suit, has any connection to the U.S.3 In contrast, Indonesia is
intricately connected to these actions. The Accident is being investigated by Indonesian
governmental authorities. Reports indicate that the Mandala flight crew failed to properly
configure the aircraft for takeoff and that the “slow” emergency response of the Indonesian
company that operates the Polonia Airport, Angkasa Pura II, may have exacerbated the victims’
injuries. Given these reports, Mandala’s operations, maintenance, and flight crew training are
especially critical from a liability standpoint. Similarly, Angkasa Pura II’s emergency plan for
the Polonia Airport (and the execution of that plan on the day of the Accident) is also critical.
Thus, the official investigators, the documents related to the investigation, the aircraft wreckage,
and the records relating to Mandala and Angkasa Pura II are in Indonesia. Likewise, as plaintiffs
have confirmed in their responses to FNC discovery, the overwhelming majority of damages
evidence is also in Indonesia. The only meaningful connections to the U.S. are that the
commercial aircraft operations of Boeing are in Washington State and that UTC operations are in
Connecticut. To date, only one of the six pending lawsuits has been filed in Washington, where
the aircraft at issue was delivered at least 27 years ago. Four of the remaining lawsuits were
filed in Illinois, which has no connection to the litigation other than the fact that more than 20
years after the accident airplane was delivered, Boeing moved its corporate headquarters there.
The final lawsuit was filed in California, which has no real link to this litigation either.

Applying the standard established in Piper Aircraft and its progeny, courts have not
hesitated to grant FNC dismissal in foreign aviation accident litigation against U.S.
manufacturers with facts like those presented here. In this case, as in those prior cases, the FNC
private interest factors strongly favor Indonesia. The majority of the liability evidence and all
damages evidence is located outside the U.S. All the Indonesian evidence is beyond this Court’s
compulsory process (and very probably inaccessible even through letters rogatory), and neither
Mandala nor Angkasa Pura II can likely be joined in the U.S.

Likewise, as in prior cases, the public interest factors also point overwhelmingly in favor
of Indonesia. Importantly, Indonesia has recently demonstrated its considerable interest in this

case specifically and civil aviation safety generally. This Accident is but one in a series of

 

3 In the Kusumo case that is filed in California, one plaintiff is apparently a California resident and U.S.
citizen. But she seeks recovery only on behalf of Indonesian citizens and residents. See infra section
1.C.1.

01038-493 1/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 11 of 42 PagelD #:812

Indonesian accidents during the last six years that prompted a wholesale and ongoing
governmental review of the civil aviation system and the safety of Indonesian air carriers. As a
result, the Indonesian government, press, and public have demonstrated a palpable interest in the
issues that will be raised in this litigation. Moreover, Indonesia has the greatest interest in
promptly and adequately compensating for the losses caused by the Accident. Any interests of
U.S. courts, in contrast, are much more limited. There is no rational reason to burden any U.S.
court or jury with what would undoubtedly be long, complicated liability trials or separate
damages cases arising from the claims made by these 241 plaintiffs.

But this case presents an even more compelling FNC argument than in Piper Aircraft,
Clerides and the many other foreign aviation accident cases in which FNC has been granted.
Standing alone, the Release issues distinguish this case and tip the balance of private and public
interests more toward dismissal. The balance tips even further when considering that this case—
unlike prior cases involving only wrongful death claims—involves claims for serious personal
injury, disability, and lost earning potential. Such claims depend substantially on the credibility
of plaintiffs’ current and former heath care providers and employers who are all outside the U.S.
The balance tips even further still given that all evidence related to the property damage claims is
located abroad, too. The presence of these additional considerations—none of which were
present in combination in other recent foreign aviation accident cases dismissed on FNC
grounds—decisively demonstrates that dismissal is warranted.

As conditions of dismissal, Defendants will agree to (1) consent to an Indonesian court’s
jurisdiction in actions refiled by these plaintiffs; (2) toll any statute of limitations that might
apply to such refiled claims for 120 days after dismissal by this Court; (3) make available in
actions refiled by these plaintiffs in the courts of Indonesia any evidence or witnesses in their
possession, custody, or control in the U.S. that an Indonesian court deems relevant, and (4) pay
or cause to be paid any final, post-appeal judgment awarded against Defendants by an

Indonesian court in such refiled actions. Kendrick ¢ 20; DeYoung { 2.4

 

4 Boeing and UTC have entered into a “Joint Defense, Sharing, and Indemnity Agreement” that relates to
these claims, which will not in any way prejudice the plaintiffs’ rights to a recovery if this case is
transferred.

01038-493 1/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 12 of 42 PagelD #:813

I. BACKGROUND
A. The Accident and Resulting Investigation.

On September 5, 2005, Mandala Airlines Flight 91 crashed on takeoff at Polonia Airport
in Medan, Indonesia. Breuhaus J 3. Flight 91 was headed to Jakarta on a domestic flight. Jd.

As the aircraft attempted to take off at Medan it failed to become fully airborne, crashed into
approach lights at the end of the runway, crossed a busy street adjacent to the airport, and landed
in a neighborhood near the airport. The aircraft then caught fire. It reportedly took airport
rescue and firefighting teams nearly 30 minutes to reach the accident site and begin firefighting
and rescue operations. Priyatna § 2; Kendrick Ex. G.

Of the 117 people on board Flight 91, 100 were killed and 15 were injured. Forty-nine
people on the ground were also killed and 26 were injured. Priyatna J 2. None of those killed or
injured was from the U.S. The vast majority of those killed and all who were injured were or are
Indonesian citizens or residents. The few non-Indonesian decedents were from other Asian
countries. Kendrick { 13(h)-(1); Priyatna § 2; see infra p. 8n.8. The Accident caused substantial
property damage in the neighborhood adjacent to the airport. Priyatna ] 2; Kendrick Ex. F.

Mandala is a domestic Indonesian airline. It operates and maintains its aircraft in
Indonesia. Breuhaus { 6. It does not operate flights outside Indonesian territory, and has never
operated flights to the U.S. Jd.; Kendrick Ex. C. Mandala’s headquarters and base of
maintenance operations are located in Jakarta. Breuhaus {J 6, 12; Kendrick Ex. C. The accident
aircraft was a 24-year-old Boeing model 737-200 aircraft equipped with two Pratt & Whitney
model JT8D engines.° Breuhaus § 4; Bartron 7. Boeing originally delivered the accident
aircraft to its first owner in 1981; Mandala purchased the aircraft from its first owner in 1994.
Breuhaus {| 4. The engines were originally installed on aircraft in 1970 and 1981, respectively.
Bartron { 7. The accident aircraft was registered in Indonesia and was inspected and certified as
airworthy by the Indonesian Directorate General of Civil Aviation (“‘DGAC”). Breuhaus { 4.
The DGAC has oversight responsibilities for the operations of Mandala, the qualifications and
training of Mandala flight crews, and the airworthiness of Mandala aircraft. Id. J 4-6.

The Polonia Airport is operated by a company called Angkasa Pura II, which is wholly

owned by the Indonesian government. Breuhaus § 8. Angkasa Pura II is responsible for the

 

> Pratt & Whitney is an unincorporated division of United Technologies Corporation that designs and
manufactures aircraft engines. See Bartron {ff 2, 7.

01038-4931/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 13 of 42 PagelD #:814

operation of ten Indonesian airports, including the proper preparation for, and response to,
accidents at these airports or in their immediate vicinity. See id. J] 8, 12, 14(d); Priyatna J 16 &
Ex. C at 31. As with Mandala, the Indonesian DGAC has oversight duties for Angkasa Pura II.
Priyatna §[ 27.

Because the Accident occurred in Indonesia, that country’s National Transportation
Security Committee (or “KNKT” in Indonesia) is responsible for conducting the official accident
investigation. Wreckage recovered during the investigation, including the aircraft’s engines and
fuel pump, was collected by the KNKT and kept in its possession in Indonesia. The official
records of the investigation and the individuals who are responsible for and leading the
investigation are also in Indonesia. Breuhaus {J 9-12, 14(a), (b); Bartron 16. A representative
from the U.S. National Transportation Safety Board (“NTSB”) participated in the investigation.
Boeing and UTC served as technical advisors to this representative and provided limited
technical assistance to the investigation solely when requested by the KNKT or the NTSB.
Breuhaus fff 10, 11, 13; Bartron §] 5, 9-12, 15. And while, as is typical in such investigations,
limited and discrete activities occurred in the U.S., most investigation activities were conducted
in Indonesia. Breuhaus Ff 12-14; Bartron | 15. Neither the NTSB, Boeing, or UTC has been
involved in every aspect of the Indonesian government’s investigation.

The Indonesian authorities have not yet released a final report from their investigation.
Breuhaus § 9. Nevertheless, it appears from public reports that both Mandala and Angkasa
Pura II may bear fault for the Accident or the resulting deaths and injuries. It has been reported
that the flight crew failed to properly set the flaps and correctly configure the aircraft for takeoff.
Priyatna § 2; Kendrick Ex. F. Angkasa Pura II has been faulted for its “slow” emergency

response which increased the number of fatalities. Kendrick Ex. G at 31.

B. Indonesian Civil Aviation.

The Accident was only one in a series of serious Indonesian aviation and other
transportation accidents that have occurred over the last six years. These accidents have called
into question the safety of the Indonesian civil aviation system, especially after the European
Union put all Indonesian air carriers on its “blacklist” and the U.S. Federal Aviation
Administration advised U.S. citizens not to fly on Indonesian airlines. Priyatna § 21 & Exs. C,
E-H). These events prompted the Indonesian government to take steps to evaluate and improve

Indonesian civil aviation safety. The President of Indonesia formed a committee called the

01038-493 1/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 14 of 42 PagelD #:815

National Transportation Safety and Security Evaluation Team (or “EKKT” in Indonesian) to
evaluate the Indonesian national transportation infrastructure and implement policies for
improving civil aviation safety and security. Priyatna {ff 10, 17-18. The EKKT has proposed a
nine-point plan for improvement. Jd. | 18. The Indonesian Ministry of Transportation has
audited and ranked the safety of all Indonesian airlines, revoked and/or suspended the Air
Operator’s Certificate of poorly performing Indonesian airlines, and required low-rated airlines
to make improvements. Jd. ff] 18, 24. And the Indonesian government has signed a joint
agreement with the International Civil Aviation Organization to improve civil aviation safety in
the country. Jd. § 26. Given the importance of aviation to Indonesia’s transportation system,
which spans 17,500 islands spread over 1.9 million square kilometers, the Indonesian press and
the Indonesian public have a high level of interest in their government’s efforts to improve, and
the resulting state of, civil aviation safety. See, e.g., Priyatna [J 12, 19, 20 & Ex. C (Tempo
Magazine issue entitled “Grounded! Flying on Empty” that includes articles entitled

“Indonesia’s Flying Circus” and “Danger in the Skies, Hazards on the Ground.”).

OF The Flight 91 Claims History and Litigation.

Almost immediately after the Accident, Mandala and its insurers compensated most of
the victims and/or their families. 192 of the 241 plaintiffs here are named as “Releasors” in such
settlements. Kendrick ff 4, 5. Mandala paid compensation ranging from 33,000,000 to
300,000,000 Indonesian Rupiahs in personal injury cases and 300,000,000 Indonesian Rupiahs in
wrongful death cases. Id. §9 4, 5.6 In exchange for this compensation, plaintiffs released their
claims against not only Mandala, but also against Boeing and UTC. The Releases specifically
identify Boeing and UTC’ as released parties. Kendrick Exs. A, B; Haryanto {61 & Ex. B. All
but two of the Releases were negotiated between Mandala representatives and the victims or
their family members in Indonesia, executed in Indonesia, and witnessed by Indonesian
witnesses and/or notaries. None was negotiated or executed in the U.S. Kendrick Ex. C;
Haryanto {J 62, 67. Because these claims are “most closely connected to Indonesia,” the

Releases contain a choice-of-law clause selecting Indonesian law as the governing law.

 

6 At the then-prevailing exchange rates, 300,000,000 Indonesian Rupiahs equaled approximately $30,000.
Kendrick Exs. B, N.

7 The Releases actually name Pratt & Whitney and its “affiliates” as “Releasees.” UTC is an “affiliate” of
Pratt & Whitney. Bartron { 2.

01038-493 1/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 15 of 42 PagelD #:816

Kendrick Ex. C. They also contain a choice-of-forum clause that selects an Indonesian District
Court as the only forum that can resolve “any disputes arising out of or based on or in connection
with” the Releases. /d.; Haryanto { 64. The Releases are irrevocable and were intended to
release completely Boeing and UTC from liability arising out of the Accident. Kendrick Ex. C;
Haryanto [J 61, 62. The Releases are enforceable under Indonesian law. Haryanto { 66.

Notwithstanding the Releases, six lawsuits arising out of the Accident have been filed in
the U.S. Four multi-plaintiff lawsuits were filed in the Northern District of Illinois. An
additional multi-plaintiff suit was filed in the Western District of Washington, and the final
action was filed on behalf of a single decedent in the Central District of California. The Judicial
Panel on Multidistrict Litigation consolidated actions arising out of the Accident for pretrial
proceedings before this Court. |

In these six actions, a total of 197 plaintiffs bring wrongful death claims on behalf of 114
decedents. Kendrick { 13(a). None of the 114 decedents was a U:S. citizen or resident; 109 of
them were citizens and residents of Indonesia. Jd. J 13(h). All but one of the 197 plaintiffs are
foreign citizens and residents; 191 are citizens and residents of Indonesia. Id. § 13(e), (f).2 The
lone plaintiff with any tie to the U.S. is plaintiff Willy Kusumo, who is alleged to be an
American citizen and resident of California. /d. § 13(i). She is the sister of decedent Wilson
Kusumo who, at the time of the Accident, was a citizen and resident of Indonesia and married to
Indonesian citizen and resident Sri Murni Djoko. Kusumo Complaint 9 5, 7, 11. Djoko has
been named as a defendant in this action because she has reportedly refused to join plaintiff
Kusumo in this case, having already settled her claims against Mandala, Boeing, and UTC in
Indonesia. Plaintiff Willy Kusumo does not allege that she is an heir to her brother’s estate or
that she is entitled to assert on her own behalf a cause of action for wrongful death. See Kusumo
Complaint §{] 6-8. Instead, she alleges that she was appointed Administrator or Executor of

Wilson Kusumo’s estate in California where she resides (but far from where decedent Kusumo

 

8 Five non-Indonesian plaintiffs are citizens and/or residents of the People’s Republic of China, Malaysia,
and Canada. Kendrick ¢ 13(f). Five decedents resided outside Indonesia: one was a citizen of Indonesia
who resided in South Korea; one was a citizen and resident of Japan; two were residents and citizens of
China; and one was a citizen and resident of Malaysia. The plaintiffs in these cases have identified 452
family members, heirs, and survivors of the decedents who seek damages for the deaths of these 114
decedents. 441 of these are Indonesian citizens and residents. Of the remaining alleged beneficiaries, one
is a resident of Indonesia and a citizen of Japan; two are residents of Singapore, but citizens of Indonesia;
four are citizens and residents of China; and four are citizens and residents of Malaysia. Id. | 13(g).

01038-493 1/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 16 of 42 PagelD #:817

resided) and that she received a power of attorney from her parents (who are also citizens and
residents of Indonesia) to bring claims in the U.S. on their behalf. Id. (7, 9.°

In the six U.S. complaints, the plaintiffs generally assert product liability and negligence
claims against Defendants. Plaintiffs in Laksono and Kusumo allege defects in the aircraft’s fuel
delivery system, engines, and engine control systems, as well as failures to warn regarding these
alleged defects. See Laksono Amended Complaint at Count I, 477; Kusumo Complaint at Count
L, §f 23, 35. The remaining plaintiffs do not identify with particularity a defect in the airplane or
its engines, and instead generically allege that there were “defects in the engines, flaps, and
warning systems of the subject aircraft,” negligent instructions for “maintenance, repair, and
operations,” and that the “engines did not provide sufficient lift to takeoff under all reasonably
foreseeable conditions.” See, e.g, Adiputra Second Amended Complaint at Count I, { 10,

Count VII, 10; Adi Complaint at Count II, ¥ 11.

The accident aircraft was assembled and delivered to its original owner (a European
airline) 27 years ago. Mandala acquired the accident aircraft from this European airline in
November 1994. Breuhaus { 4. Evidence regarding the design and assembly of the accident
aircraft is within Boeing’s possession in Washington State where its Commercial Airplanes
division is headquartered and where the accident airplane was delivered in 1981. Jd. 14(g).
Although Boeing moved its worldwide headquarters to Chicago, Illinois in 2001 (20 years after
it delivered the accident aircraft), the evidence related to its Commercial Airplanes division is
maintained in Washington.

The two engines on the accident aircraft were manufactured in 1969 and 1981,
respectively. Bartron 7. These engines were used by other operators until they came into
Mandala’s possession in approximately 1994 for one, and 2002 or 2003 for the other. Jd. All of
the limited documentary evidence regarding the design and manufacture of the engines on the
accident aircraft is within UTC’s possession in the State of Connecticut where UTC’s
headquarters (as well as that of its Pratt & Whitney division) is located. Jd. J 17. The engines
that are the focus of these plaintiffs’ claims, as well as related maintenance records, are in

Indonesia. See Breuhaus { 14(a).

 

9 Contrary to the allegations in the Kusumo Complaint, a stipulation served by Willy Kusumo's counsel
suggests that she might seek damages on her own behalf. However, as discussed in section III.C.1 infra,
she has no standing to recover damages in her own right under any potentially applicable law.

01038-493 1/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 17 of 42 PagelD #:818

Consistent with reported causes of the Accident, Boeing has pleaded in its Answers and
Affirmative Defenses that Mandala and Angkasa Pura II caused or contributed to the Accident
and subsequent injuries and thus their conduct is squarely at issue. See, e.g., Answer and
Affirmative Defenses to Amended Complaint and Jury Demand by Defendant The Boeing
Company at 37, 38 (Second, Fourth, Fifth Defenses), filed in Justyantoro v. Boeing Company,
Case No. 1:07-CV-1387. Since these entities, as well as their regulatory agency (the DGAC) are
located in Indonesia, essential records and witnesses relevant to the Accident and this litigation

are located in Indonesia. See Breuhaus {{ 6, 8, 12, 14; Bartron { 16.

WW. ARGUMENT

The cornerstone of the FNC analysis is convenience. “The common law doctrine of
[FNC] allows a trial court to dismiss a suit over which it would normally have jurisdiction if it
best serves the convenience of the parties and the ends of justice.” Clerides, 534 F.3d at 627-28
(quoting In re Bridgestone/Firestone, Inc., 420 F.3d 702, 703 (7™ Cir. 2005)). Specifically, an
FNC dismissal is appropriate if there is an adequate alternative forum in which the case may be
tried and the relevant private and public interest factors favor dismissal. Kamel v. Hill-Rom Co.,
108 F.3d 799 (7™ Cir. 1997). In balancing these factors, plaintiffs’ choice of a U.S. forum is
entitled to little deference. This is so because when foreign plaintiffs bring suit in the U.S., their
choice of forum cannot be presumed to be based on convenience. Sinochem Int’l Co, v. Malaysia
Int’l Shipping Corp., 127 8. Ct. 1184, 1191 (2007); Piper Aircraft, 454 U.S. at 256; Clerides, 534
F.3d at 628; In re Factor VIH or IX Concentrate Blood Prods. Litig., 484 F.3d 951, 955-56 (7
Cir. 2007) (‘In re Factor IP’).

The presence of a single U.S. plaintiff does not alter this conclusion or the balance of
conveniences. See Cheng, 708 F.2d at 1411; In re Athens, 479 F. Supp. 2d at 798 (dismissing
claims brought by two American plaintiffs and stating that “[t]he presence of American plaintiffs,
by itself, does not bar forum non conveniens dismissal.”); In re Taiwan Straits, 331 F. Supp. 2d at
1190 (plaintiffs’ choice of forum not entitled to substantial weight where foreign plaintiffs
“significantly outnumber” U.S. resident plaintiffs); see also In re Bridgestone/Firestone, Inc.,
Tires Prods. Liab. Litig., 190 F. Supp. 2d 1125, 1137 (S.D. Ind. 2002) (“[N]ot even U.S.
citizenship is a talisman against [FNC] dismissal.”). This is especially true where, as here, the
U.S. resident plaintiff does not seek recovery for her own losses, but instead has simply been

nominated by foreign (Indonesian) beneficiaries to bring suit on their behalf in a forum

10
01038-4931/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 18 of 42 PagelD #:819

(California) that has no factual connection to the litigation. See Piper Aircraft, 454 U.S. at 239
(even when Special Administrator is U.S. citizen and resident, forum choice not entitled to
substantial difference when “real parties in interest are foreign.”). As shown below, Indonesia is
an available and adequate alternative forum for this litigation and—as in Piper Aircraft and its

progeny—the public and private interest factors overwhelmingly favor dismissal.

A. Indonesia Is an Available and Adequate Alternative Forum.

The first step in the FNC analysis is to determine whether an adequate alternative forum
is available. ‘‘This is a two part inquiry: availability and adequacy.” Kamel, 108 F.3d at 802.
Courts have consistently held that Indonesia is an available and adequate alternative forum for
personal injury and wrongful death cases. See, e.g., Zipfel v. Halliburton Co., 832 F.2d 1477,
1484-85 (9" Cir. 1987), amended on other grounds, 861 F.2d 565 (9" Cir. 1988); Gonzales v.
P.T. Pelangi Niagra Mitra Int'l, 196 F. Supp. 2d 482, 486-89 (S.D. Tex. 2002); Carney v.
Singapore Airlines, 940 F. Supp. 1496, 1499-1501 (D. Ariz. 1996).!° No reason exists to reach a
different conclusion here.

The conclusion that Indonesia is an available and adequate alternative forum is confirmed
by the declarations of Stefanus Haryanto and Priyatna Abdurrasyid, two Indonesian law experts.
Haryanto is an Indonesian Advokat (litigator) who has practiced before all levels of Indonesian
courts and, as a result, has extensive experience with Indonesian civil procedure and substantive
law. Haryanto has also served as either a full- or part-time lecturer in law at Parahyangan
Catholic University since he received his law degree 23 years ago. At Parahyangan, Haryanto
has lectured in, among other subjects, Indonesian jurisprudence, International Law, and
Commercial Law. His qualifications are explained in more depth in his declaration. Haryanto 7]
2-8.

Priyatna is an air and space law expert with extensive experience lecturing in law at
Indonesian universities and advising governmental entities on issues related to aviation law and
regulation. Priyatna {J 5-10. He is the sole legal expert appointed by the President of Indonesia

to the EKKT and is thus uniquely qualified to address matters of current aviation law in

 

10 See also PT United Can Co. v. Crown Cork & Seal Co., 138 F.3d 65, 74-75 (2d Cir. 1998) (Indonesia
adequate in action for breach of contract and fiduciary duty and fraud); PT Indopac Perdana Fin. v.
Masagung, Nos. 00-17345, 01-15622, 2002 WL 505915 (9th Cir. Apr. 1, 2002) (Indonesia adequate in
action related to loan guarantee).

11
01038-4931/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 19 of 42 PagelD #:820

Indonesia. Jd. 17. Priyatna also regularly provides training to Indonesian judges. Jd. { 7.
Priyatna’s qualifications are described in more detail in his declaration. Jd. J 5-10. These

experts unequivocally confirm the availability and adequacy of Indonesia.

1. Indonesia is an available forum.

A forum is available where all parties are amenable to process and within the forum’s
jurisdiction. Kamel, 108 F.3d at 803. Here, Defendants are subject to the jurisdiction of
Indonesian courts because the Accident occurred in Indonesia. Haryanto 435. Indonesia’s
availability is further ensured because Defendants have consented to accept jurisdiction there as
a condition of dismissal. This consent, alone, establishes Indonesia’s availability. Id. 438. See
In re Factor II, 484 F.3d at 957; Kamel, 108 F.3d at 803.

Not only is Indonesia an available forum, for most of these plaintiffs’ claims it is a
mandatory forum. Because 192 of these plaintiffs previously released their claims against
Boeing and UTC, their actions are barred unless they challenge the validity of the Releases. But
these plaintiffs have previously agreed, through the Releases’ Indonesian choice-of-forum
clause, to litigate issues related to the Releases’ validity only in an Indonesian District Court.
Kendrick Exs. A-C; Haryanto § 64. This forum selection clause is enforceable. Haryanto { 66.
At least with respect to those plaintiffs who are also “Releasors,” therefore, FNC should be
granted to effectuate the terms of their contractual forum selection. See Tjontveit v. Den Norske
Bank ASA, 997 F. Supp. 799, 805 (S.D. Tex. 1998) (“A forum selection clause is presumably
valid and creates a strong presumption favoring venue in the agreed-upon forum.”); see also
Damigos v. Flanders Compania Naviera, S.A.-Panama, 716 F. Supp. 104, 106-07 (S.D.N.Y.

1989) (forum selection clause in Greek release should be enforced).!!

2. Indonesia is an adequate forum.

“An alternative forum is adequate when the parties will not be deprived of all remedies or
treated unfairly.” Kamel, 108 F.3d at 803. Indonesia easily satisfies this low threshold
requirement. Plaintiffs will not be deprived of “all” remedies in Indonesia. The Indonesian Civil
Code provides victims a cause of action for “unlawful acts due to fault or negligence.” Haryanto

qj 42-46. Economic and noneconomic damages are available to surviving spouses, children and

 

11 Given their prior selection of an Indonesian forum to settle such disputes, these plaintiffs cannot now
question the adequacy of the Indonesian forum either.

12
01038-493 1/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 20 of 42 PagelD #:821

parents who would have received financial support from a decedent. Id. §] 45, 48. As Haryanto
explains, “[these provisions] give a plaintiff the right to file suit for damages for negligence or
fault on the part of a defendant.” Jd. 946. Thus, as to any claims that are not otherwise barred
by the Releases, Haryanto states that: “if the plaintiffs are able to submit the necessary evidence
to demonstrate that Boeing and UTC committed unlawful acts which caused the Mandala crash,
then based on Indonesian law, the claims for damages that they submit will be granted by the
courts in Indonesia.” Jd. 74. Because Indonesia provides plaintiffs “some potential avenue for
redress” it is an adequate forum. Kamel, 108 F.3d at 803 (internal quotations and citation
omitted); see also Piper Aircraft, 454 U.S. at 254 & n.22.

Further, as demonstrated in the Haryanto and Priyatna declarations, Indonesia’s judicial
system contains sufficient procedural safeguards to assure its adequacy. The Indonesian judicial
system is a civil law judicial system based on the European model. Haryanto J 16. Plaintiffs
would have easy access to Indonesian counsel and, indeed, many already have relationships with
Indonesian counsel. Haryanto § 39; Kendrick J 13(r). After paying minimal filing fees,
plaintiffs could file their cases in a District Court. Haryanto {{ 18, 35-37, 40. The cases would
be decided by a panel of three judges who must be qualified, trained, and approved by the Chief
Justice of the Supreme Court and/or President of Indonesia. Jd. 20-21, 25. Indonesian
procedural rules provide for the collection of evidence (both documentary and testimonial) from
parties and Indonesian third parties, as well as for the presentation of such evidence (including
expert testimony) in court for examination by the judges and opposing counsel. Id. {J 57-59.
Two levels of appeals are available. Jd. 419. Although the procedures of the Indonesian courts
differ from those in U.S. proceedings, that does not make the forum inadequate. See Hull 753
Corp. v. Elbe Flugzeugwerke GmbH, 58 F. Supp. 2d 925, 929 (N.D. Ill. 1999) (citing Mercier v.
Sheraton Int'l, Inc., 981 F.2d 1345, 1352-53 (1* Cir. 1992)).

As the standard for adequacy is “easily met,” In re Athens, 479 F. Supp. 2d at 797, this is
not one of those “rare” situations in which the alternative foram may be deemed inadequate. See
PT United Can, 138 F.3d at 73 (“At this stage, considerations of comity preclude a court from
adversely judging the quality of a foreign justice system absent a showing of inadequate

procedural safeguards, so such a finding is rare.”’) (citation omitted).!2 Both Haryanto and

 

12 Further, as an example of the adequate functioning of the Indonesian court system, at least one plaintiff
ina U.S. case filed claims there relating to the Accident. Plaintiff Lim A. Siong (who brings a wrongful

13
01038-4931/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 21 of 42 PagelD #:822

Priyatna underscore that not only is Indonesia an adequate forum for this litigation, it is the
preferable forum. This litigation would be followed closely by the Indonesian government,
press, and public, and the high profile nature of this litigation would facilitate the proper,
efficient, and fair resolution of these claims. Priyatna {J 12, 27-29; Haryanto ff 69-73.

B. The Private Interest Factors Strongly Favor Dismissal.

The private interest factors include the relative ease of access to sources of proof,
availability of compulsory process for attendance of unwilling witnesses, the cost of obtaining
attendance of willing witnesses, the possibility of viewing the Accident site, and “‘all other
practical problems that make trial of a case easy, expeditious and inexpensive.’”
454 U.S. at 241 n.6 (quoting Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 508 (1947)); see also

Clerides, 534 F.3d at 628. Here, the private interest factors weigh heavily in favor of FNC

Piper Aircraft,

dismissal.

1. The ease of access to sources of proof factor favors Indonesia.

The majority of witnesses, documentary evidence, and physical evidence relating to the
Releases, liability, and damages are located in Indonesia. Plaintiffs and their decedents—the
overwhelming majority of whom are or were Indonesian—were injured or killed when an
aircraft that had been maintained, inspected, and operated by Mandala, an Indonesian carrier,
crashed near an Indonesian airport during a scheduled flight between two Indonesian cities.
Most of these plaintiffs received compensation and executed Releases in Indonesia that relieved
Boeing and UTC from further liability. Plainly, documents in Indonesia and the testimony of
Indonesian witnesses will be of critical significance to this case. See Clerides, 534 F.3d at 629;
Paolicelli v. Ford Motor Co., No. 06-13688, 2008 WL 3855042, at *2 (11 Cir. Aug. 20, 2008)
(affirming FNC dismissal where “accident-specific evidence such as witnesses and police and
medical reports, relevant to both the damages incurred by the plaintiffs and the defenses
available to [defendants], is concentrated in [the foreign forum]”); Baumgart v. Fairchild
Aircraft Corp., 981 F.2d 824, 836-37 (5" Cir. 1993) (affirming FNC dismissal of action where,

 

death action in the U.S. for the death of his brother Sui Liong) previously filed suit in Medan District
Court on his own behalf and for his six siblings against Sui Liong’s widow to resolve questions of
inheritance and distribution of Sui Liong’s assets and the settlement proceeds paid by Mandala. See
Kendrick {ff 8, 9 & Ex. D.

14
01038-493 1/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 22 of 42 PagelD #:823

among other things, most of the evidence was located in Germany); see also Da Rocha, 451 F.

Supp. 2d at 1323-24.

a. Evidence regarding the Releases is in Indonesia.

Evidence regarding the settlement negotiations, execution of the Releases, and tender of
settlement funds will be necessary if 192 of these plaintiffs continue to pursue their previously
released claims against Defendants. Of particular importance will be evidence from Mandala
representatives who negotiated the Releases and paid the settlement funds. Other witnesses to
the Releases and Indonesian notaries who verified plaintiffs’ signatures will also be important.
This evidence is of critical importance, as, by way of example, the plaintiffs in Laksono who
signed Releases and obtained compensation after the Accident now claim that the Releases
“were obtained under circumstances that render them void and unenforceable.” Kendrick Exs. L,
M. Because all but two of these Releases were executed in Indonesia, Mandala is located in
Indonesia, and all the Releasors and their family members are in Indonesia,!3 essentially all
necessary sources of proof relevant to this critical threshold issue are in Indonesia. See Kendrick
Ex. C; Haryanto {J 62, 64, 67. None is in the U.S. This factor favors dismissal. See Damigos,
716 F. Supp. at 107-08.

b. Critical liability evidence is in Indonesia.

As outlined above, the Indonesian KNKT is leading the investigation into this loss of an
Indonesian aircraft on takeoff from an Indonesian airport. As a result, much of the liability
evidence relating to the Accident’s probable cause is located there. While a detailed list of
relevant documents and witnesses is not required, see Piper Aircraft, 454 U.S. at 258; Inre
Factor VIII or IX Concentrate Blood Prods. Litig., 531 F. Supp. 2d 957, 975 (N.D. III. 2008) (“In
re Factor IIP’), the following nonexhaustive description of liability evidence located solely in
Indonesia suffices to demonstrate that access to evidence would be easier there. !4

Witnesses and records of the KNKT investigation and the wreckage assembled by
the investigators. The KNKT is a central source of evidence needed to determine the cause of
the Accident. The systems plaintiffs complain about—most notably the airplane’s engines, but

also the flight control surfaces, flaps, and associated hardware—were taken into the KNKT’s

 

13 Two Releases were executed in China. Kendrick Ex. C.
14 Other evidence is also in Indonesia. See Breuhaus {ff 12, 14(a)-(e); Bartron {J 13-14, 16.

15
01038-493 1/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 23 of 42 PagelD #:824

possession, as was all other recovered wreckage. Breuhaus ff 14(a), (b); see Da Rocha, 451 F.
Supp. 2d at 1323; Taiwan Straits, 331 F. Supp. 2d at 1196 (both noting the location of wreckage
as significant in FNC analysis). This physical wreckage is likely the best source of primary
evidence to establish the Accident’s cause. The KNKT has likely evaluated the aircraft engines
and gathered and evaluated significant documentary and testimonial evidence from a variety of
Indonesian sources in order to prepare its report on the Accident’s cause. Breuhaus { 12
(identifying evidence likely collected by the KNKT).!5 Because the KNKT conducted
significant portions of its investigation in Indonesia without participation by the NTSB, Boeing,
or UTC, access to KNKT evidence, witnesses, and records is critical to assembling the evidence
necessary to prove the facts relevant to the cause of the Accident. See Lueck, 236 F.3d at 1146
(“New Zealand evidence relating to the accident is essential to this suit... .”); Breuhaus {§ 12,
14(a).

Witnesses and records of Mandala. Mandala is also a critical source of evidence. At
the very least, reports raise as an issue whether (and why) the flight crew failed to properly
configure the aircraft for takeoff. Mandala has relevant evidence on this issue that is
undoubtedly located in Indonesia. See Breuhaus { 14(c); see also Priyatna { 15. This includes
evidence on (i) Mandala’s flight operating procedures, including those regarding configuration of
the aircraft for takeoff; (ii) the operating manuals available to the flight crew and whether they
were approved by the DGAC; (iii) the qualifications and experience of the flight crew; and
(iv) the training the flight crew received from Mandala, especially regarding Mandala’s
operating procedures, and reviews of the flight crew’s performance of and adherence to such
procedures. See Breuhaus § 14(c).

Mandala also has evidence relevant to evaluating plaintiffs’ allegations regarding the
aircraft’s engines, flaps, and warning systems. For example, evidence regarding Mandala’s
maintenance on the accident aircraft would shed light on whether Mandala had properly
maintained the aircraft’s engines, flaps, and warning systems. See Van Schijndel, 434 F. Supp.
2d at 776 (noting that “[i]n a products liability case .. . maintenance records may well be

crucial” and granting FNC).

 

15 Underscoring the importance of this evidence, some plaintiffs rely in their complaints on
undocumented and anonymous statements from “investigators” about the engines in their complaints. See
Laksono Amended Complaint J 73 (“investigators have publicly stated that they ‘discovered signs of
engine problems’”).

16
01038-4931/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 24 of 42 PagelD #:825

Finally, evidence of the procedures that Mandala and its personnel followed for
maintaining, repairing, and operating the aircraft are particularly critical because some plaintiffs
allege that Boeing failed to advise Mandala of proper maintenance, repair, and operating
procedures. See, e.g., Adi Complaint at Count II, ¢ 11; Kusumo Complaint § 23(c), (e). These
claims would fail on causation grounds, however, if it could be shown that Mandala never
acquired or ignored recommendations from Boeing regarding maintenance, repair, and operation
of the aircraft. All evidence of Mandala’s procedures is in Indonesia. Breuhaus § 14(c).

Witnesses and records of Angkasa Pura II. The Angkasa Pura II employees who
participated in and were responsible for the Accident firefighting and rescue operations are key
witnesses. These individuals, all of whom work[ed] at an Indonesian airport, can explain the
delay in reaching the Accident site; what they saw when they arrived at the site; whether their
efforts complied with the Polonia Airport Emergency Plan; and, if so, whether that emergency
plan conformed with Indonesian law and international norms. See Breuhaus ] 12; see also
Priyatna { 16. This testimony is needed to determine whether the acts of Angkasa Pura II
exacerbated the plaintiffs’ injuries and/or losses, as has been previously reported. Indeed, in
aviation accident litigation like this involving the loss of life and property on the ground,
evidence from eyewitnesses (including airport personnel who witnessed the Accident) as well as
from search and rescue teams that responded to the Accident is particularly critical. See
Zermeno v. McDonnell Douglas Corp., 246 F. Supp. 2d 646, 660 (S.D. Tex. 2003).

Witnesses and records of DGAC regulation of the aircraft, airline, flight crew, and
airport operator. The DGAC inspected and certified the aircraft as airworthy regularly in the
eleven years that it was operated by Mandala. Breuhaus §{ 4, 5. The DGAC also regulated the
flight crew, the airport operator, and the airline. Jd. J] 5, 6, 12; Priyatna § 27. This evidence in
Indonesia points toward dismissal. Jn re Athens, 479 F. Supp. 2d at 800 (finding that ease of
access to evidence favors Cyprus or Greece and noting that “records and witnesses relating to the

Cyprus Department of Civil Aviation’s oversight of Helios’s operations are located in Cyprus”).

C. Damages evidence is in Indonesia.
Indonesia is or was the home forum for almost all of the plaintiffs, wrongful death
beneficiaries, and decedents in this case. Kendrick § 13(e)-(i). Plaintiffs’ responses to Boeing’s

discovery requests confirm that damages evidence is overwhelmingly found in Indonesia, with a

17
01038-4931/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 25 of 42 PagelD #:826

small amount in other Asian countries. Id. | 13(d), ()-(q).!© Even in Kusumo, the case with a
U.S. resident plaintiff, the damages evidence is located in Indonesia where the decedent resided,
where his wife resides, and where his parents (the only claimed beneficiaries of the lawsuit)
reside.

For the wrongful death and personal injury claims at issue here, the relevant damages
evidence in Indonesia includes (i) the documents and witnesses necessary to evaluate plaintiffs’
and the wrongful death beneficiaries’ financial losses (including tax returns, bank records, pay
stubs, employment records, and documents relating to funeral, mortuary, or burial expenses);
(ii) documents and witnesses relevant to the personal injury plaintiffs’ and decedents’ pre- and
post-accident medical conditions and life expectancies (e.g., doctors and other health care
providers and their records); and (411) documents and witnesses relevant to the intangible losses
suffered by the loss of consortium plaintiffs, the personal injury plaintiffs, and the decedents’
families.!7 Kendrick { 13()-(q).

In suits arising from the injuries and/or deaths of foreign domiciliaries, courts have
consistently held that the ease of access to sources of damages proof in the plaintiff's or
decedent’s home forum weighs heavily for dismissal. See Chhawchharia v. Boeing Co., 657 F.
Supp. 1157, 1161 (S.D.N.Y. 1987); In re Disaster at Riyadh Airport, Saudi Arabia, on Aug. 19,
1980, 540 F. Supp 1141, 1147 (D.D.C. 1982). In an analogous foreign aviation accident case
involving over 100 foreign decedents, the court recognized that the voluminous amount of
damages evidence in the foreign forum, standing alone, made the overall ease of access to
evidence greater abroad. Taiwan Straits, 331 F. Supp. 2d at 1196; see also In re Bridgestone/
Firestone, Inc., 420 F.3d 702, 705 (7 Cir. 2005) (“In re Bridgestone/Firestone IT’). No
different conclusion is warranted here.

In sum, the “access to sources of proof” private interest factor plainly favors dismissal.

Essentially all the Release and damages evidence is located in Indonesia. So, too, is much of the

 

16 One decedent was apparently employed by a U.S. company and may have employment records in the
U.S. However, that decedent (a doctor) lived and worked in Indonesia. Kendrick { 13(n). Another
Indonesian decedent had a sibling who resides in Canada and brings suit in the U.S. Jd. § 13(f). But in
that case, the decedent and all other potential beneficiaries were and are Indonesian citizens and residents.

17 183 plaintiffs also seek compensation for property damages. They admit that all records relevant to
these claims are outside the U.S.; most are in Indonesia, but some are in China. Kendrick ¥ 13(d).

18
01038-4931/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 26 of 42 PagelD #:827

critical liability evidence.!8 Courts confronted with cases like this one, where evidence
pertaining to the cause of foreign aviation accidents and the resulting damages is located abroad,
have considered this to be a strong factor favoring FNC dismissal. This case is no different. See
Clerides, 534 F.3d at 629-30; Satz, 244 F.3d at 1283-84; Da Rocha, 451 F. Supp. 2d at 1323-24;
Van Schijndel, 434 F. Supp. 2d at 776-77; see also Kamel, 108 F.3d at 804; In re
Bridgestone/Firestone, Inc., 305 F. Supp. 2d 927, 937 (S.D. Ind. 2004) (“In re
Bridgestone/Firestone I’), vacated, 420 F.3d 702 (7 Cir. 2005), judgment reinstated, 470 F.
Supp. 2d. 917 (S.D. Ind. 2006).

2. Many critical witnesses are beyond the reach of compulsory process.

The Supreme Court in Gulf Oil recognized the importance of choosing a foram where
unwilling witnesses can be compelled to appear and testify. 330 U.S. at 511. The Seventh
Circuit also recently acknowledged the significance of this factor when affirming the dismissal
of claims arising out of a foreign aviation accident in Clerides, 534 F.3d at 629-30. In this case,
all the critical evidence relating to the Releases and damages, as well as many critical witnesses
relating to liability, are beyond this Court’s compulsory process. Fed. R. Civ. P. 45(c)(3)(A)(ii),
(e); Carney, 940 F. Supp. at 1502-03. Given that 235 Indonesian plaintiffs have brought suit
here, the Indonesian witnesses on damages alone will be numerous. Jn re Factor II, 531 F.
Supp. 2d at 975. All this Indonesian evidence, however, would be available were this case
refiled there. Indonesian law contains mechanisms to compel production of documents from
parties and nonparties and to obtain the testimony of witnesses. Haryanto {J 58-59. This is a
significant factor in the FNC analysis. Pain, 637 F.2d at 787; Dahl v. United Techs. Corp., 632
F.2d 1027, 1030 (3d Cir. 1980); Carney, 940 F. Supp. at 1503.

Compounding the prejudice caused by this lack of compulsory process, Indonesian courts
will likely ignore any request from this Court for judicial assistance to compel evidence in
Indonesia. Indonesia recognizes no treaty that facilitates the collection of evidence from

nonparties in Indonesia. See Haryanto J 60.!9 While a party in the U.S. may try to obtain

 

13 Tf the Release, liability, and damages issues are allowed to proceed in this Court, nearly all of the
relevant documents and testimony will require translation into English, with the accompanying delay,
cost, and potential for mistakes. This also favors dismissal. Vasquez v. Bridgestone/Firestone, Inc., 325
F.3d 665, 672-73 (Sth Cir. 2003).

19 Some courts have found that the availability of such treaties (e.g., the Hague Convention) cures in
whole or in part the U.S. court’s lack of compulsory process over foreign witnesses and documents, but

19
01038-4931/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 27 of 42 PagelD #:828

evidence in Indonesia through a letter rogatory, no Indonesian law facilitates the execution of a
letter rogatory and it is unlikely that one such request would be enforced, let alone the significant
number of requests that would be needed to obtain the vast amount of evidence located in
Indonesia. Id. § 60. See Quaak v. Klynveld Peat Marwick Goerdeler Bedrijfsrevisoren, 361 F.3d
11, 21 &n.4 (1* Cir. 2004) (obtaining evidence through letters rogatory is “burdensome, costly,
and time-consuming,” and less certain than under the Hague Convention). Even if letters
rogatory could be enforced, the Supreme Court and Seventh Circuit have affirmed that the
superiority of live testimony and the inconvenience of obtaining evidence through such a process
favors dismissal. Gulf Oil, 220 U.S. at 511; Clerides, 534 F.3d at 629-30.

Therefore, if this case remains in the U.S., Defendants will be unable to compel the
production of documents, attendance at trial, or even the appearance at a deposition of third-party
witnesses regarding Release issues, liability, or damages. See supra section III.B.1 (identifying
the third-party Release, liability, and damages witnesses). With respect to the Release issues, the
lack of compulsory process would be particularly prejudicial. Without compulsory process,
Defendants have no way to obtain any testimony or documents from the only witnesses (all of
whom are in Indonesia) whose testimony might contradict evidence that plaintiffs may offer
(including their own declarations and declarations of friendly witnesses such as family members)
to attack the Releases’ validity.2° This strongly favors dismissal. Van Schijndel, 434 F. Supp. 2d
at 779 (“{C]ourts continue to affirm that it is not fair to make U.S. manufacturers proceed to trial
without foreign witnesses who cannot be compelled to attend.”); Damigos, 716 F. Supp. at 107
(FNC granted in favor of Greece noting that the “attorneys who negotiated the releases in the
Greek action reside and work in Greece”).

Voluntary production of Indonesian evidence will not substitute here for the lack of
compulsory process. At the very least, Mandala has flatly refused to produce voluntarily its

documents in the U.S. or permit its witnesses to testify for a U.S. trial. Kendrick Ex. C. No

 

the unavailability of such a treaty here coupled with the dismal prospects for letters rogatory in Indonesia
distinguish those cases and tips this factor in favor of dismissal. U.S.O. Corp. v. Mizuho Holding Co.,
No. 06 C 0459, 2007 WL 2893628, at *5 (N.D. II]. Sept. 27, 2007).

20 Defendants would similarly be prejudiced in their inability to compel evidence from Mandala, Angkasa
Pura II, the DGAC, and the KNKT to demonstrate their defense that Mandala and Angkasa Pura II caused
in whole or in part the Accident and resulting injuries. See Nai-Chao v. Boeing Co., 555 F. Supp. 9, 18
(N.D. Cal. 1982) (compelling defendant to try case without benefit of testimony from accident
investigators, aviation regulators, and aircraft operator "would impose a serious hardship").

20
01038-493 1/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 28 of 42 PagelD #:829

reason exists to believe that other Indonesian third parties would take a different position. Even
if they did, it would still be far less burdensome and expensive for those voluntary witnesses to
appear in Indonesia rather than in a U.S. forum. This, too, favors dismissal. See Paolicelli, 2008
WL 3855042, at *2 (affirming FNC dismissal where the “plaintiffs and foreign witnesses also
face potentially inconvenient and expensive travel”); Da Rocha, 451 F. Supp. 2d at 1324;
Pyrenee, Ltd. v. Wocom Commodities Ltd., 984 F. Supp. 1148, 1165 (N.D. Ill. 1997);
McDonald’s Corp. v. Bukele, 960 F. Supp. 1311, 1318-19 (N.D. Ill. 1997).

3. In contrast, all relevant evidence in Defendants’ control will be available in

Indonesia.

That Boeing and UTC have evidence in the U.S. does not outweigh the factors that favor
Indonesia. Plaintiffs will have access to Defendants’ evidence in an Indonesian action. First,
witnesses and documents within Defendants’ control will be subject to the compulsory process
of the Indonesian court. Alexander Proudfoot, Plc v. Fed. Ins. Co., 860 F. Supp. 541, 545 (N.D.
Ill. 1994); see Lueck, 236 F.3d at 1146. Second, Defendants’ agreement, as a condition of
dismissal, to produce any evidence and employees deemed relevant by an Indonesian court
makes their evidence available in that forum. See Clerides, 534 F.3d at 629; Lueck, 236 F.3d at
1146; Da Rocha, 451 F. Supp. 2d at 1324; Taiwan Straits, 331 F. Supp. 2d at 1196.

The Seventh Circuit, in a foreign air crash case nearly identical to this one, recently
confirmed that the presence of liability evidence in the U.S. (particularly, Boeing’s evidence)
does not tip the “ease of access to proof” factor in favor of a U.S. forum. See Clerides, 534 F.3d
at 629 (“The district court acted well within its discretion when it concluded that, given Boeing’s
agreement to produce its documents and witnesses in Cyprus and Greece and the location of the
majority of other evidence in Cyprus and Greece, the relative ease of access to proof favored
those forums over the United States.”’”). Because Defendants’ evidence will be available in
Indonesia, while U.S. courts lack compulsory process over the multitude of critical witnesses and
documents located there, this private interest factor weighs heavily in favor of dismissal. See
Lueck, 236 F.3d at 1147 (“[B]ecause the district court cannot compel production of much of the
New Zealand evidence, whereas the parties control, and therefore can bring, all the United States
evidence to New Zealand, the private interest factors weigh in favor of dismissal.”); see also
Baumgart, 981 F.2d at 836-37; Gambra, 377 F. Supp. 2d at 820; Zermeno, 246 F. Supp. 2d at
660.

21
01038-493 1/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 29 of 42 PagelD #:830

4, It is likely not possible to join Mandala and is impossible to join Angkasa
Pura IJ in this case.

Neither Mandala nor Angkasa Pura II can likely be joined in U.S. litigation. Mandala
likely lacks a sufficient connection to the U.S. (for example, it does not operate here and its
personnel have not visited here) to demonstrate the requisite jurisdictional “minimum contacts.”
Underscoring this, Mandala has stated that “it will not agree to submit voluntarily to jurisdiction
in the U.S. It does not believe that a U.S. court would have jurisdiction over it to require its
participation.” Kendrick Ex. C. Angkasa Pura II, as a company wholly owned by the Indonesian
government, is a foreign sovereign as defined in the Foreign Sovereign Immunities Act and is
therefore immune from suit in the U.S. See 28 U.S.C. §§ 1603(b)(2), 1604, 1605; Compania
Mexicana de Aviacion, S.A. v. U.S. Dist. Court, 859 F.2d 1354 (9" Cir. 1988).

Defendants would be prejudiced by trials in the U.S. without Mandala and Angkasa
Pura II. First, as Haryanto explains, under Indonesian law (which governs the Releases),
Mandala and Angkasa Pura II should be joined in any action in which plaintiffs challenge the
validity of the Releases. Their involvement in such an action is essential under Indonesian law
and procedure. Haryanto { 53.

Second, if Defendants can show that the Accident and injuries were caused solely by the
negligence of the airline, the pilots, or the airport operator, they will be relieved of all liability.
Here, where Mandala and Angkasa Pura II will only be “empty chairs,” no judgment can be
entered against them and Defendants will lack access to their evidence. See supra
section IJI.B.2. This will seriously prejudice Defendants in their ability to fully and fairly defend
these cases, and this factor weighs heavily in favor of dismissal. See Piper Aircraft, 454 U.S. at
259 (“Joinder of the pilot’s estate, Air Navigation, and McDonald is crucial to the presentation of
petitioner’s defense.”); In re Factor II, 484 F.3d at 958 (noting district court’s reliance on the
inability to join foreign third-party defendants as a private interest factor favoring dismissal);
Satz, 244 F.3d at 1284 n.4 (noting the ineffectiveness of the “empty chair[]” defense because the
trier of fact “would have available only one, rather than several, defendants to bear the brunt of
its verdict and damage award’); Van Schijndel, 434 F. Supp. 2d at 780 (“the absence of [the
operator] . . . creates the risk of significant prejudice to” defendants).

These difficulties would be eliminated if this case were refiled in Indonesia. There are a
variety of ways that either plaintiffs or Defendants can join both Mandala and Angkasa Pura II in

an Indonesian action. Haryanto J] 51-56. In fact, Indonesian jurisprudence mandates that all

22
01038-493 1/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 30 of 42 PagelD #:831

parties “closely related” to a case must be joined. Jd. 54. FNC is therefore warranted to ensure
that the actions can be refiled in Indonesia where all parties to the Releases and all possible
tortfeasors may be brought before the same court. See In re Factor II, 531 F. Supp. 2d at 973
(“[T]he inability to join third parties is a substantial private interest factor weighing in favor of

dismissal.’’); Reers v. Deutsche Bahn AG, 320 F. Supp. 2d 140, 161 (S.D.N.Y. 2004).

5. An Indonesian fact-finder can view the accident site.

Viewing the accident site would provide context to the fact-finder and assist in the
valuation of the claim for damage to property in the neighborhood adjacent to the Medan airport.
Kendrick { 13(b) (identifying at least one real property damage claim). It would also assist in
explaining the route the emergency personnel took from the airport to the accident site and
provide context for the apparent delayed emergency response. Accordingly, this factor favors

dismissal. Piper Aircraft, 454 U.S. at 243; In re Bridgestone/Firestone I, 305 F. Supp. 2d at 936.

C. The Public Interest Factors Also Strongly Favor Dismissal.

The public interest factors include the local interest in having localized controversies
decided at home, the unfairness of burdening citizens in an unrelated forum with jury duty,
administrative difficulties related to court congestion, and the avoidance of problems in conflicts
of law or in application of foreign law. Gulf Oil, 330 U.S. at 508-09; Kamel, 108 F.3d at 803.
The public interest factors also weigh heavily in favor of dismissal.

1, Indonesia has an overwhelming interest in deciding this dispute, far

outweighing the interest of any possible U.S. forum.

There can be no dispute that Indonesia has a significant and overwhelming interest in this
controversy. As a preliminary matter, Indonesia has a strong interest in whether the Releases,
which were negotiated and executed in Indonesia by Indonesian parties, and that on their face
extinguish liability arising out of an Indonesian air crash, are valid and enforceable. This is
especially so since a determination about the Releases’ validity could expose Mandala (one of its
own corporations) to additional liability. Chhawchharia, 657 F. Supp. at 1161 (‘India’s interest
in determining the validity and effect of the release is even greater [than the U.S. interest]... .”);
see also Damigos, 716 F. Supp. at 109.

Indonesia’s interest is even greater due to the nature of the underlying dispute. An
aircraft operated by an Indonesian airline that is regulated by Indonesian authorities crashed on

takeoff from an airport in Indonesia that is operated by a company owned by the Indonesian

23
01038-4931/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 31 of 42 PagelD #:832

government. The Accident injured and/or killed predominantly Indonesian passengers, crew,
and ground victims, and it damaged an Indonesian neighborhood near the airport. Because the
Accident occurred in Indonesia, Indonesian authorities are responsible for conducting the official
accident investigation to determine the probable cause of the crash. These facts standing alone
are sufficient to establish that Indonesia has a “very great” interest in the litigation. Priyatna
GJ 11, 14-16. See Piper Aircraft, 454 U.S. at 260; Clerides, 534 F.3d at 630; In re Air Crash
Near Peixoto De Azeveda, No. 07 MD 1884, at *1; Esheva, 499 F. Supp. 2d at 500; Taiwan
Straits, 331 F. Supp. 2d at 1204. Indonesia not only has a “great” interest in “ensuring that the
heirs and beneficiaries of the majority of those on [the flight] are compensated and treated
fairly,” Gambra, 377 F. Supp. 2d at 825, but Indonesia also has a significant interest in
“regulating the use of allegedly defective products within [its] borders” and “an interest in
protecting the health and safety of [its] residents,” Clerides, 534 F.3d at 630; see also In re
Bridgestone/Firestone II, 420 F.3d at 705.

The recent initiatives taken by the Indonesian government to improve civil aviation safety
in the wake of a series of accidents, including the Accident at issue here, underscore the
significant interest that Indonesia has in this controversy. These initiatives include the creation
and work of the EKKT; the safety audit and ranking of all Indonesian airlines; and the execution
of a joint agreement with the International Civil Aviation Organization (“ICAO”) to improve
Indonesian civil aviation safety. Priyatna J] 22-26. The Indonesian government recently has
accepted technical assistance on aviation issues from ICAO, the Australian government, and the
Federal Aviation Administration. Jd. 18, 21,26. The Indonesian government has also
temporarily or permanently suspended the licenses of numerous airlines that have been unable to
meet certain aviation safety and security standards. Id. § 24. Indeed, as Priyatna, an air and
space law expert, legal advisor to the Indonesian Ministry of Transportation and the DGAC, and
presidential appointee to the EKKT, states, in light of the Indonesian government’s wholesale
review of the Indonesian civil aviation infrastructure, Indonesia’s interest in this case is “very
significant.” Priyatna §] 27; see also In re Factor VIII or IX Concentrate Blood Prods. Liab.
Litig., 408 F. Supp. 2d 569, 589 (N.D. Ill. 2006) (“Zn re Factor P’) (governmental interest in
regulated industry such as passenger aircraft operations is “particularly strong”), aff'd, 484 F.3d
951 (7" Cir. 2007). The Indonesian government’s efforts to understand and prevent accidents

like this one demonstrate a compelling interest in this case. Cf Clerides, 534 F.3d at 630

24
01038-4931/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 32 of 42 PagelD #:833

(recognizing foreign governments’ “demonstrated interest” in the case as shown through
criminal and official investigations into the crash).

Given the Indonesian government’s intense focus on civil aviation safety and the
concomitant press coverage and public attention, this litigation would be followed closely by the
public, the press, and the Indonesian government were it refiled in Indonesia. Priyatna {ff 28, 29.
As Priyatna concludes, this litigation would be “most fittingly hosted in Indonesia” where the
Indonesian government and people could “oversee and derive direct benefit” from the litigation
process. Jd. {27. This consideration strongly favors dismissal. See Esheva, 499 F. Supp. 2d at
500 (“[L]itigation in Russia would allow the people most affected by the accident to have access
to the litigation proceedings in a way that could never be achieved if the actions proceeded in
this country.’’); see also Gulf Oil, 330 U.S. at 509 (“In cases which touch the affairs of many
persons, there is reason for holding the trial in their view and reach rather than in remote parts of
the country where they can learn of it by report only.”).

In contrast, no U.S. forum has an interest in this litigation that even approaches the
interest of Indonesia, let alone surpasses it. Illinois, where the majority of these cases would be
tried, has no meaningful relationship to this action. The fact that Boeing moved its corporate
headquarters to Chicago long after it sold the accident aircraft does not give this forum an
overriding interest in the litigation. In re Factor III, 531 F. Supp. 2d at 978 (presence of
headquarters and manufacturing facility in forum was not “in any way comparable to the
interests of [Argentina, where injuries occurred]”); see also Lueck, 236 F.3d at 1147; Kamel, 108
F.3d at 805 (both affirming FNC dismissals of defendants sued in their home forums);
McDonald's, 960 F. Supp. at 1320 (principal place of business within forum “does not present
much of a localized controversy”). This was recently confirmed by the Seventh Circuit in the
nearly identical Clerides decision when it found that the Northern District of Illinois has “no
local connection” to foreign air crash litigation against Boeing brought by foreign plaintiffs. 534
F.3d at 630. Thus, Illinois has little relationship to, and thus no more than a “mere passing”
interest in, this action. See Kamel, 108 F.3d at 805; see also Van Schijndel, 434 F. Supp. 2d at
784; Taiwan Straits, 331 F. Supp. 2d at 1203; In re Bridgestone/Firestone I, 305 F. Supp. 2d at
938.

California has even less interest in this litigation than Illinois. None of the Defendants’

activities relevant to this case occurred there. And although one of the 241 plaintiffs, Willy

25
01038-493 1/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 33 of 42 PagelD #:834

Kusumo, appears to be a California resident, California has no interest in her claim. According
to her own complaint, she is not the real party in interest in the case and seeks no recovery on her
own behalf. See infra III.C.1. Further, she would not qualify as a beneficiary under Indonesian
law or California law. Haryanto { 45 (siblings not entitled to recover); Cal. Civ. Pro. C.

§ 377.60; Cal. Prob. C. (sibling cannot recover when decedent had surviving spouse and
surviving parents). Under these circumstances, California has no meaningful interest in this
litigation.

Nor do the interests of Washington even approach those of Indonesia, let alone tip the
public interests away from dismissal. Arguably, Washington has some interest in the case filed
there because Boeing’s Commercial Airplanes division is located in Washington and because the
Accident airplane was delivered there 27 years ago. But these facts alone do not create the type
of public interest that justifies retention of these cases and imposition of jury duty on its
citizens.?!

This conclusion is squarely supported by Piper Aircraft. In that case, the Supreme Court
reinstated the FNC dismissal of the case against Piper Aircraft, which had been pending in
Pennsylvania where Piper Aircraft had its headquarters, manufacturing facilities, and its
evidence. In doing so, the Supreme Court conclusively rejected the notion that that U.S. forum’s
interests either matched the foreign forum’s interests or pointed away from dismissal. To the
contrary, the Supreme Court unequivocally stated that “[t]he American interest in this accident is
simply not sufficient to justify the enormous commitment of judicial time and resources that
would inevitably be required if the case were to be tried here.” Piper Aircraft, 454 U.S. at 261
(emphasis added).

Since Piper, “courts have repeatedly exercised their discretion to hold that a defendant’s
manufacturing activities within the U.S. do not tilt the public interest in favor of retaining
jurisdiction where overseas events are the primary catalyst for litigation initiated by foreign
plaintiffs.” In re Aircrash Near Peixoto de Azeveda, No. 07 MD 1844, at 24 (dismissing cases
filed in the Eastern District of New York where one corporate defendant’s headquarters located

and where two individual defendants lived). See also Lueck, 236 F.3d at 1147 (citizens of

 

21 Likewise, even if claims are eventually filed in Connecticut where UTC has its headquarters,
Connecticut's public interest in this litigation in no way approaches that of Indonesia, let alone tips the
balance away from dismissal.

26
01038-493 1/LEGAL14626159,1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 34 of 42 PagelD #:835

Arizona have “slight” interest in manufacturing of defective products by corporations located
there as compared to “high” interest of foreign forum); Baumgart, 981 F.2d at 837 (dismissing
German air crash case brought by German plaintiffs in the Western District of Texas against
Texas-based aircraft manufacturer); Gambra, 377 F. Supp. 2d at 825 (California, the home of the
defendant aircraft lessor, had “minimal” interest in litigation); Helog AG v. Kaman Aerospace
Corp., 228 F. Supp. 2d 91, 93 (D. Conn. 2002) (not in “public interest” to litigate product
liability action against Connecticut-based manufacturers in Connecticut); Jennings v. Boeing
Co., 660 F. Supp. 796, 807 (E.D. Pa. 1987) (the interests of Pennsylvania, as place of the
helicopter’s manufacture, “are far less in comparison” to those of the place of the accident).

In sum, any generalized U.S. interest in deterring the production of defective products
does not require a U.S. court to retain jurisdiction when another country has a greater interest in
the litigation. Piper Aircraft, 454 U.S. at 260-61; In re Athens, 479 F. Supp. 2d at 804;

Da Rocha, 451 F. Supp. 2d at 1325; Taiwan Straits, 331 F. Supp. 2d at 1205. In this case, the
presence of U.S. manufacturers does not alter the Indonesian nature of and interest in this dispute
and this public interest points strongly to dismissal. See Macedo v. Boeing Co., 693 F.2d 683,
686 (7" Cir. 1982) (“The fact that the aircraft was manufactured in the [United States] does not
make the accident, involving a Portuguese airline, an airport in Portugal, predominantly
Portuguese plaintiffs and Portuguese witnesses, any less a matter of local Portuguese
interest.”’).22

Here, the interest of Indonesia in this litigation is not only significant, but “present and
continuing.” See In re Factor III, 531 F. Supp. 2d at 978. (“[TJhe forum of these plaintiffs’ [and
decedents’] residence [is] the place where the greatest impact of their injuries has been felt and
will continue to be felt into the indefinite future.”). In contrast, any interest that Washington and
Connecticut have is tied, in large part, to the design and manufacture of an airplane and its
engines that were delivered more than 27 years ago. See id. Under these circumstances, the

interest of the local U.S. forum where Defendants are located and have their operations simply

 

22 In Macedo, which arose out of a Portuguese air crash, the Seventh Circuit reversed the district court’s
FNC dismissal because the district court had not fully considered all of the Gulf Oil factors. See
Macedo v. Boeing Co., 693 F.2d 683 (7th Cir. 1982). On remand, after a careful analysis, the district
court once against granted the FNC motion and the case was dismissed. See Boskoff'v. Boeing Co., 17
Avi. 18,613 (N.D. Ill. June 1, 1983) (Kendrick Ex. J). And, in the intervening 23 years since Macedo,
courts have routinely dismissed cases on similar facts. See supra n.2.

27
01038-493 1/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 35 of 42 PagelD #:836

“pales” in comparison to those of the foreign forum where the plaintiffs and decedents are, or
were, from, where the Accident occurred, and where the airplane was operated and maintained.
See In re Aircrash Near Peixoto de Azeveda, No. 07 MD 1844, at 24.

2. There is no reason to burden any U.S. court or jury with resolving litigation

in which Indonesia has such a significant and overwhelming interest.

Maintaining these actions in any U.S. forum would create a significant burden on the
Court and jurors, out of proportion to their, at best, limited interest in these cases. This is
particularly true for the Illinois and California forums, which have no meaningful connection to
the litigation, see In re Factor ITI, 531 F. Supp. 2d at 979, and it is also true for the Washington
forum, Baumgart v. Fairchild Aircraft Corp., Civ. A. No. SA-90-CA-818, 1991 WL 487242, at
*7 (W.D. Tex. Sept. 30, 1991) (trials involving 19 foreign plaintiffs would take a substantial
amount of time to try and public interest factors favored dismissal even though aircraft designed,
manufactured, and tested in Texas), aff'd, 981 F.2d 824 (5" Cir. 1993); Nolan v. Boeing Co.,
762 F. Supp. 680, 684 (E.D. La. 1989), (“no justification” for retaining jurisdiction when trials
arising from foreign aviation accident involving 100 plaintiffs “could be expected to last
months”), aff'd, 919 F.2d 1058 6" Cir. 1990). See also In re Factor III, 531 F. Supp. 2d at 979.

The heavy burden that these cases would impose on three different U.S. forums is not
justified by the, at most, slight interest each forum has in the litigation. Each court and set of
jurors would be forced to delve into complex issues relating to an Indonesian airline’s flight
operations, crew training, and maintenance; issues related to the proper design and
implementation by a state-owned Indonesian company of emergency plans for an Indonesian
airport; and engineering questions regarding the proper design, manufacture and operation of a
737-200 aircraft and its engines. In addition, each court and set of jurors would be required to
sift through damages claims arising from injuries, deaths, and property damage of Indonesian
passengers, ground victims, and wrongful death beneficiaries, all of whom were or are foreigners
and none of whom resides in the U.S. This would be an unfair burden to impose on jurors in
forums with little or no present interest in plaintiffs’ claims. See Lueck, 236 F.3d at 1147 (“the
citizens of Arizona should not be forced to bear the burden” because interest of forum as the
home of manufacturer was “low” compared to interest of New Zealand as the home of airline
and passengers); In re Athens, 479 F. Supp. 2d at 804; In re Factor I, 408 F. Supp. 2d at 588

(individual trials in hemophiliac/HIV cases would “require many months of court time”).

28
01038-4931/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 36 of 42 PagelD #:837

Conversely, adjudicating these cases in Indonesia would enable the people most
affected—the victims and their families, residents of the neighborhood where the crash occurred,
and the Indonesian public—to have direct access to the trial. See Esheva, 499 F. Supp. 2d at
500; Van Schijndel, 434 F. Supp. 2d at 783-84; Helog, 228 F. Supp. 2d at 93 (‘[T]rying the case
to a jury far from the place of the accident (and plaintiffs’ domiciles) is not in the public
interest.”). Given the significantly greater Indonesian interest in this case, the jury service factor
strongly favors dismissal. In re Athens, 479 F. Supp. 2d at 804; see also Piper Aircraft, 454 U.S.
at 252; In re Bridgestone/Firestone IT, 420 F.3d at 705.23

3. Dismissal would avoid unnecessary conflict of laws problems and the

necessity of applying Indonesian law.

FNC “is designed in part to help courts avoid conducting complex exercises in
comparative law.” Piper Aircraft, 454 U.S. at 251; In re Athens, 479 F. Supp. 2d at 804-05.
Cases arising from foreign aircraft accidents inevitably “pose complex choice of law issues.” Jn
re Athens, 479 F. Supp. 2d at 804; see also In re Air Crash at Belle Harbor, N.Y. on Nov. 12,
2001, No. MDL 1448, 2006 WL 1288298, at *4 (S.D.N.Y. May 9, 2006). Because retention of

eee

this action would require the Court to “‘untangle problems in conflict of laws, and in law foreign
to itself,’” this public interest factor (like all the other factors) “point[s] towards dismissal.”
Piper Aircraft, 454 U.S. at 251 (quoting Gulf Oil, 330 U.S. at 509).

First, if the Court were to address any questions regarding the Releases’ validity, it would
have to “untangle” Indonesian law, which must apply to those issues by virtue of the Releases’
choice-of-law clause. Haryanto ¥ 63; see also Damigos, 716 F. Supp. at 108 n.5 (FNC granted
when Greek law deemed likely to apply to release executed in Greece by Greek citizens in case
involving a Greek vessel). Second, in addressing liability and damages issues, the Court would
also be required to engage in the type of complex choice-of-law analysis that FNC is designed to
avoid. Piper Aircraft, 454 U.S. at 251.

To determine which law applies to any issue the court must apply the choice-of-law rules

of the forum. Illinois and Washington have adopted the “most significant relationship” test. See

 

23 Were these cases refiled in Indonesia, they would likely be resolved in the District Court within six
months (see Haryanto § 41), as opposed to a median time to trial of 28.7 months in the Northern District
of Illinois, 18.9 months in the Central District of California, and 19 months in the Western District of
Washington (Kendrick Ex. I). The relatively shorter time to trial in Indonesia further supports dismissal.
In re Factor IT, 484 F.3d at 958-59.

29
01038-4931/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 37 of 42 PagelD #:838

Esser v. McIntyre, 169 Ill. 2d 292, 298 (1996); Ellis v. Barto, 918 P.2d 540, 542 (Wash. Ct. App.
1996) (citing Johnson v. Spider Staging Corp., 555 P.2d 997 (Wash. 1976)).24 According to that
test, the law of Indonesia—where the injuries occurred—should govern, unless another state or
country has a more significant relationship with the occurrence and with the parties. See, e.g.,
Esser, 169 Ill. 2d at 298. Selection of the jurisdiction with the most significant relationship
requires analysis of each competing jurisdiction’s contacts with the occurrence and the parties, in
light of the policies underlying the conflicting laws. Jd. Maintenance of these cases would
require a separate choice-of-law analysis with respect to each legal issue for which a conflict
exists between Indonesian law and the law of another jurisdiction—be it an issue relating to
compensatory damages or liability. See In re Air Crash Disaster Near Chi., Ill., on May 25,
1979, 644 F.2d 594, 611 7 Cir. 1981); see also Esser, 169 Ml. 2d at 298; Restatement (Second)
of Conflict of Laws § 145(1) & cmt. d at 414, 417 (1971).25

With respect to the legal issues relating to compensatory damages, the Court here would
be called upon to sort through an area rife with potential conflicts. For example, the Court must
address a conflict between Indonesian law and the laws of Washington and Illinois as to the
identity of proper wrongful death beneficiaries. Compare Haryanto { 45 (dependent parents are
beneficiaries), with Holmgren v. Nat’l Big-4 Asbestos Removal Specialty, Inc., 228 Ill App. 3d
433, 435 (1992) (under Illinois law, parents not beneficiaries when spouse survives) and
Philippides v. Bernard, 88 P.3d 939, 943-44 (Wash. 2004) (under Washington law, parents can
recover only if dependant on decedent and no spouse or children survive). Further, while
Indonesian law generally allows the recovery of material and nonmaterial losses, the Court
would also be required to define more precisely the exact types of material and nonmaterial
damages recoverable under Indonesian law as compared to the laws of Illinois, Washington, and

California.

 

24 Assuming cases are also filed in Connecticut, that state, too, has adopted the "most significant
relationship" choice-of-law test. Dugan v. Mobile Med. Testing Servs., Inc., 830 A.2d 752, 759 (Conn.
2003).

25 California applies a three-step governmental interest analysis to address choice-of-law issues, which
involves (i) identification of any conflict of laws on each issue, (ii) evaluation of the interests of any
jurisdiction in having its own law applied; and (iii) an analysis of which jurisdiction’s interests would be
more impaired if its laws were not applied. See, e.g., Tucci v. Club Mediterranee, S.A., 107 Cal. Rptr. 2d
401, 407 (Cal. Ct. App. 2001). The separate analysis required under California law only further
complicates the web of choice-of-law issues the Court would be required to untangle if the cases remain
here. Piper Aircraft, 454 U.S. at 251.

30
01038-4931/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 38 of 42 PagelD #:839

A similar analysis must be done with respect to a determination of the liability rules that
will apply to Boeing and UTC. See Spinozzi v. ITT Sheraton Corp., 174 F.3d 842, 844-46 (7"
Cir. 1999) (applying foreign liability law of country where injuries occurred). This analysis
would be even more complicated given that the injuries occurred in Indonesia, plaintiffs’ claims
against Boeing and UTC arise from conduct that took place in Washington and Connecticut,
respectively, and additional claims have been filed in three different U.S. forums.

While this choice-of-law analysis is, at best, complex, one thing is clear: given
Indonesia’s significant relationship to the Accident and the parties, it is likely that if this case
remains here, the Court would be required to apply Indonesian law to many issues. See Macedo,
693 F.2d at 690 (“Portuguese law would surely be applicable to many” issues in litigation of
Portuguese air crash and decedents). Dismissal in favor of refiling in Indonesia would relieve
the Court of this complicated choice-of-law analysis and the application of foreign law. Jn re
Aircrash Near Peixoto De Azeveda, No. 07 MD 1844, at 25-26 (choice-of-law factor points to
dismissal because dismissal allowed court to avoid “unnecessary problems in conflict of laws”
and multiple conflict-of-laws analyses). This factor thus points strongly in favor of dismissal.
Kamel, 108 F.3d at 805 (FNC granted when court would have to “presid[e] over a trial in which
it would have to delve into the tenets of an unfamiliar legal system”); Alexander Proudfoot, 860
F. Supp. at 545 (application of foreign law “strongly points toward dismissal in considering a
[FNC] claim”); see also Saiz, 244 F.3d at 1284 (FNC granted given “possibility” that the court
would have to apply foreign law).

IV. CONCLUSION
Indonesia is an available and adequate alternative forum for plaintiffs’ claims. As the
home forum for the vast majority of these plaintiffs (and their decedents), as well as the site of
the Accident and the domicile of the airline, Mandala, the airport operator, Angkasa Pura II; their
regulator, the DGAC; and the investigating KNKT agency, the private and public interest factors

strongly favor Indonesia over the U.S. These factors tip overwhelmingly in favor of Indonesia

31
01038-4931/LEGAL14626159.1
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 39 of 42 PagelD #:840

when the Releases are considered. Boeing and UTC therefore respectfully request that the Court

dismiss plaintiffs’ claims on the grounds of FNC.

DATED: August 29, 2008
Respectfully submitted,

/s/ William T. Cahill
One of the attorneys for
Defendant The Boeing Company

William T. Cahill

Jonathan R. Buck

PERKINS COIE Lip

131 South Dearborn Street, Suite 1700
Chicago, IL 60603-5559

(312) 324-8400

Allison Kendrick

PERKINS COIE Lip

1201 Third Avenue, Suite 4800
Seattle, WA 98101-3099
(206) 359-8000

01038-493 1/LEGAL14626159.1

32

/s/ William F. DeYoung
One of the attorneys for
Defendant United Technologies
Corporation

William F. DeYoung

Loretto M. Kennedy

Kendall E. Woods

CHUHAK & TECSON, P.C.
30 S. Wacker Drive, Suite 2600
Chicago, IL 60606

(312) 444-9300
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 40 of 42 PagelD #:841

CERTIFICATE OF SERVICE
I, Jonathan R. Buck, certify that I caused a true and complete copy of the
DEFENDANTS' JOINT MEMORANDUM OF LAW IN SUPPORT OF THEIR
AMENDED MOTION TO DISMISS ON THE GROUNDS OF FORUM NON
CONVENIENS to be served via CM/ECF and/or regular U.S. mail, postage prepaid, from 131
South Dearborn Street, Suite No. 1700, Chicago, Illinois 60603, on the 29" day of August, 2008,

upon all counsel of record on the attached service list:

/s/William T. Cahill

01038-493 1/LEGAL14625888.1
Case: 1:07-cv-00250.Document #: 69 Filed: 08/29/08 Page 41 of 42 PagelD #:842

SERVICE LIST

Via Court’s electronic filing system to the following:

 

Counsel for Plaintiffs in Floyd A. Wisner
Adiputra, et. al. (07 C 0250) WISNER LAW FIRM
Adi, et. al. (07 C 4954) 934 South 4" Street

St. Charles, Illinois 60174
Phone: (630) 513-9434
Fax: (630) 513-6287

 

Counsel for Plaintiffs in Brian J. Lawler

Adiputra, et. al. (07 C 0250) LIEFF GLOBAL LLP
275 Battery Street, 30th Floor
San Francisco, California 94111
Phone: (415) 788-8000
Fax: (415) 956-1008

 

Robert J. Nelson, Esq.

LIEFF, CABRASER,

HEIMANN & BERNSTEIN, LLP
275 Battery Street, 30th Floor

San Francisco, California 94111-3336
Phone: (415) 956-1000

Fax: (415) 956-1008

 

 

Counsel for Plaintiffs in Joseph A. Power, Jr.
Justyantoro, et. al. (07 C 1387) Todd A. Smith
Zu, et. al. (07 C 4845) Brian LaCien
POWER, ROGERS & SMITH, P.C.
70 West Madison Street

Suite No. 5500
Chicago, Illinois 60602
Phone: (312) 236-9381
Fax: (312) 236-0920

 

 

01038-493 1/LEGAL14458623.1

 
Case: 1:07-cv-00250 Document #: 69 Filed: 08/29/08 Page 42 of 42 PagelD #:843

 

Counsel for Defendant
United Technologies Corporation

William F. DeYoung
Loretto M. Kennedy
CHUHAK & TECSON
30S. Wacker Drive
Suite No. 2600
Chicago, Illinois 60606
Phone: (312) 444-9300
Fax: (312) 444-9027

 

Counsel for
The Boeing Company
(All Cases)

William T. Cahill
Jonathan R. Buck
PERKINS COIE, LLP
131 South Dearborn
Suite No. 1700
Chicago, Illinois 60601
Phone: (312) 324-8400
Fax: (312) 324-9400

 

 

 

Allison Kendrick

PERKINS COIE, LLP

1201 Third Avenue

Suite No. 4800

Seattle, Washington 98101-3099
Phone: (206) 359-8000

Fax: (206) 359-9000

 

Via regular U. S. mail to the following:

 

 

Counsel for Plaintiffs in
Kusumo, et. al. (08 C 2358/3324)
Laksono, et. al. (08 C 2359/3325)

 

Lewis S. Eidson

Curtis B. Miner

COLSON HICKS EIDSON
225 Aragon Avenue

Second Floor

Coral Gables, Florida 33134
Phone: (305) 476-7400
Fax: (305) 476-7444

 

01038-4931/LEGAL14458623.1

 

 
